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                               EXHIBIT 239
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                   RESPONSES CONTAIN McKESSON CONFIDENTIAL
                   INFORMATION SUBJECT TO PROTECTIVE ORDER

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


  IN RE NATIONAL PRESCRIPTION                          MDL No. 2804
  OPIATE LITIGATION
                                                       Case No. 17-md-2804

  This document relates to:                            Judge Dan Aaron Polster

  All Cases.


    MCKESSON CORPORATION’S SECOND SUPPLEMENTAL OBJECTIONS
AND RESPONSES TO PLAINTIFFS’ COMBINED DISCOVERY REQUESTS (NOS. 1-8)

       Defendant McKesson Corporation (“McKesson”) hereby provides these second

supplemental objections and responses to Plaintiffs’ First Set of Combined Discovery Requests

to Distributor Defendants in accordance with the Federal Rules of Civil Procedure 26, 33, and

34, the Local Rules of the Northern District of Ohio, and Case Management Orders 1, 2, and 3

(Docket Nos. 232, 441, and 443) entered in this action.

                        GENERAL OBJECTIONS AND OBJECTIONS
                         TO INSTRUCTIONS AND DEFINITIONS

       McKesson incorporates by reference as if fully set forth herein its General Objections to

this set of requests as set forth in its Objections and Responses to Plaintiffs’ Combined

Discovery Requests (Nos. 1-8), served on July 30, 2018, and General Objections to Plaintiffs’

First Set of Interrogatories and First Set of Requests for Production, served on May 29, 2018. In

addition, to the extent that Plaintiffs’ Combined Discovery Requests purport to seek clarification

or prioritization of requests in Plaintiffs’ First Set of Interrogatories and First Set of Requests for

Production, McKesson incorporates by reference as if fully set forth herein its objections to the

instructions and definitions used in those discovery requests.




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                     OBJECTIONS AND RESPONSES TO REQUESTS

REQUEST NO. 1:

       Please produce all transactional data related to Opioids and/or Opioid Products from
January 1, 1996 to the present; please identify the Bates stamp range for each related to Case
Track One.

RESPONSE TO REQUEST NO. 1 (07/31/2018):

        McKesson objects to this request on the grounds stated in General Objection Nos. 1-2
and further incorporates by reference as if fully set forth herein its objections and response to
Plaintiffs’ Request for Production No. 32. Subject to and without waiving these objections,
McKesson responds that it has produced transactional data for shipments of opioids to
Customers in Cuyahoga and Summit Counties for the time period January 1, 2006 through
March 31, 2008 in native-file Excel format assigned production number MCKMDL00478913.
McKesson will be supplementing its production to add transaction data from October 1, 2004
through December 31, 2005. Based on its investigation to date, McKesson does not have
transaction data prior to October 1, 2004 or, if there is any data available (and none has been
located to date), it is on archived tapes that cannot be accessed and that were archived from a
proprietary system no longer used by McKesson that previously ran on a main frame computer
that has been decommissioned.

SUPPLEMENTAL RESPONSE TO REQUEST NO. 1 (11/30/2018):

       Superceded by second supplemental response below.

SECOND SUPPLEMENTAL RESPONSE TO REQUEST NO. 1 (03/04/2019):

       McKesson incorporates by reference its objections and response to this request as set

forth above. Subject to and without waiving these objections, McKesson responds as follows:

       McKesson has produced transactional data for McKesson Customers in Cuyahoga and

Summit Counties for 10/01/04 – 06/30/18 (data prior to 10/01/2004 is not available or

accessible) – as follows:

       •   MCKMDL00409045 for 01/01/13 – 03/31/18 time period
           (produced 07/16/2018)
       •   MCKMDL00478913 for 01/01/06 – 03/31/18 time period
           (produced 07/25/2018)
       •   MCKMDL00579972 for 10/01/04 – 12/31/05 time period
           (produced 09/14/2018)
       •   MCKMDL00606062 for 04/01/18—06/30/18 time period
           (produced 09/28/2018)


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       In addition, McKesson produced updated transactional data for McKesson Customers in

Cuyahoga and Summit Counties for 10/01/04 – 06/30/18 that includes net invoice value:

       •   MCKMDL00675597 through MCKMDL00675597 for 10/01/2004 – 06/30/2018
           (produced 01/04/2019)

The net invoice value does not reflect all customer rebates and discounts, many of which are not

tied to specific transactions in McKesson's financial records. Accordingly, the net invoice value

may not reflect the actual price paid once applicable rebates and discounts are applied.

REQUEST NO. 2:

        Please produce each of your Suspicious Order Monitoring System (SOMS) policies and
procedures since January 1, 2006 and identify the Bates stamp range for each; please identify the
effective date(s) each was in force and effect.

RESPONSE TO REQUEST NO. 2 (07/31/2018):

        McKesson objects to this request on the grounds stated in General Objection Nos. 1-2
and further incorporates by reference as if fully set forth herein its objections and responses to
Plaintiffs’ Request for Production Nos. 21 and 23. Subject to and without waiving these
objections, McKesson responds that it has produced multiple copies of relevant policies and
procedures relating to its monitoring of controlled substances. This includes, but is not limited
to, the documents produced bearing production numbers MCKMDL00354205-341,
MCKMDL00330931-64, MCKMDL00355041-50, MCKMDL00354536-67,
MCKMDL00354887-962, and MCKMDL00355260-95. McKesson will further supplement this
response to identify additional copies of relevant policies and procedures relating to monitoring
of controlled substances.

SUPPLEMENTAL RESPONSE TO REQUEST NO. 2 (11/30/2018):

       Superceded by second supplemental response below.

SECOND SUPPLEMENTAL RESPONSE TO REQUEST NO. 1 (03/04/2019):

       McKesson incorporates by reference its objections and response to this request as set

forth above. Subject to and without waiving these objections, McKesson responds as follows:

       McKesson has produced multiple copies of its policies and procedures for controlled

substance monitoring, including the following produced versions identified by beginning

production number:


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      •   MCKMDL00651873;

      •   MCKMDL00354205; MCKMDL00545370; MCKMDL00545860;
          MCKMDL00517870; MCKMDL00331008; MCKMDL00530453;
          MCKMDL00533763;

      •   MCKMDL00355041; MCKMDL00355251; MCKMDL00330211;
          MCKMDL00330931; MCKMDL00355527;

      •   MCKMDL00002509; MCKMDL00497843; MCKMDL00537268;
          MCKMDL00513797; MCKMDL00513873; MCKMDL00513936;
          MCKMDL00513996; MCKMDL00514092; MCKMDL00516385;
          MCKMDL00516407; MCKMDL00518045; MCKMDL00518063;
          MCKMDL00518081; MCKMDL00518106; MCKMDL00523626;
          MCKMDL00524312;

      •   MCKMDL00354536; MCKMDL00326902; MCKMDL00318487;
          MCKMDL00323282; MCKMDL00316260; MCKMDL00329175;
          MCKMDL00329290; MCKMDL00333223; MCKMDL00330223;
          MCKMDL00386662; MCKMDL00370722; MCKMDL00370781;
          MCKMDL00370993; MCKMDL00371274; MCKMDL00373842;
          MCKMDL00395122; MCKMDL00395753; MCKMDL00385283;
          MCKMDL00385292; MCKMDL00383170; MCKMDL00383179;
          MCKMDL00368261; MCKMDL00533239; MCKMDL00533964;
          MCKMDL00533985; MCKMDL00534025; MCKMDL00534122;

      •   MCKMDL00354786; MCKMDL00354837; MCKMDL00354887;
          MCKMDL00354963; MCKMDL00553598; MCKMDL00553678;
          MCKMDL00555012; MCKMDL00514886; MCKMDL00514963;
          MCKMDL00515044; MCKMDL00517192; MCKMDL00517269;
          MCKMDL00417239; MCKMDL00417290; MCKMDL00454528;
          MCKMDL00420107; MCKMDL00420660; MCKMDL00422997;
          MCKMDL00456310; MCKMDL00427529; MCKMDL00427600;
          MCKMDL00456400; MCKMDL00456679; MCKMDL00430505;
          MCKMDL00431921; MCKMDL00433755; MCKMDL00434701;
          MCKMDL00435316; MCKMDL00435420; MCKMDL00435521;
          MCKMDL00407512; MCKMDL00355146; MCKMDL00330099;
          MCKMDL00337325; MCKMDL00332958; MCKMDL00333009;
          MCKMDL00333059; MCKMDL00333135; MCKMDL00330474;
          MCKMDL00330544; MCKMDL00330614; MCKMDL00330696;
          MCKMDL00330746; MCKMDL00333638; MCKMDL00333689;
          MCKMDL00333739; MCKMDL00333815; MCKMDL00371272;
          MCKMDL00371245; MCKMDL00395206; MCKMDL00383059;
          MCKMDL00395256; MCKMDL00437749; MCKMDL00441266;
          MCKMDL00442437; MCKMDL00443207; MCKMDL00446432;
          MCKMDL00446527; MCKMDL00449333; MCKMDL00449409;


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           MCKMDL00449485; MCKMDL00450576; MCKMDL00450795;
           MCKMDL00451270; MCKMDL00451365; MCKMDL00451501;
           MCKMDL00452410; MCKMDL00452620; MCKMDL00557961;
           MCKMDL00559159; MCKMDL00559300; MCKMDL00559446;
           MCKMDL00560483; MCKMDL00560559; MCKMDL00560683;
           MCKMDL00560733; MCKMDL00560784; MCKMDL00560834;
           MCKMDL00560929; MCKMDL00561023; and

       •   MCKMDL00355260; MCKMDL00457884; MCKMDL00437842;
           MCKMDL00437886; MCKMDL00439001; MCKMDL00439042;
           MCKMDL00439194; MCKMDL00439244; MCKMDL00457990;
           MCKMDL00439282; MCKMDL00446610; MCKMDL00449954;
           MCKMDL00449991; MCKMDL00450027; MCKMDL00450064;
           MCKMDL00450101; MCKMDL00450139; MCKMDL00450177;
           MCKMDL00450213; MCKMDL00450249; MCKMDL00450286;
           MCKMDL00450322.

       With regard to audits of McKesson’s CSMP and distribution of controlled substances,

McKesson has collected and produced documents from its Internal Audit department as well as

custodial files for two former members of that department (Dauny Biraki and Scott Villarreal).

These productions include:

 Beginning MDL No./Vol.       Ending MDL No.           Description
 MCKMDL00567624               MCKMDL00567812           Documents from the custodial files of
 MCKMDL025                                             Scott Villarreal
 MCKMDL00567813               MCKMDL00568169           Documents from the custodial files of
 MCKMDL025                                             Dauny Biraki
 MCKMDL00591245               MCKMDL00595593           Internal Audit Reports and supporting
 MCKMDL030                                             materials
 MCKMDL00606033               MCKMDL00606060           Documents relating to McKesson
 MCKMDL032                                             STARS audits
 MCKMDL00606063               MCKMDL00609795           Internal Audit Reports and supporting
 MCKMDL033                                             materials
 MCKMDL00616427               MCKMDL00616858           Internal Audit Reports and supporting
 MCKMDL036                                             materials
 MCKMDL00650973               MCKMDL00651319           Documents from the custodial files of
 MCKMDL044                                             Dauny Biraki
 MCKMDL00651827               MCKMDL00651872           Internal Audit Policies & Procedures,
 MCKMDL045                                             SOPs, template kick-off presentation




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In addition, documents relating to audits, reviews and recommendations of McKesson’s anti-

diversion efforts and controlled substance monitoring programs over time have been produced

from the files of multiple custodians and from diligence files.

       McKesson also has produced documents that address the history of McKesson’s

controlled substance monitoring programs, McKesson’s communications with the DEA relating

to those programs, and implementation of those programs. See, e.g., documents with beginning

production numbers MCKMDL00373814; MCKMDL00409116; MCKMDL00409483;

MCKMDL00409554; MCKMDL00409572; MCKMDL00409607; MCKMDL00409619;

MCKMDL00409636; MCKMDL00409662; MCKMDL00409676; MCKMDL00409714;

MCKMDL00409766; MCKMDL00409794; MCKMDL00409798; MCKMDL00409800;

MCKMDL00497638; MCKMDL00355585-586; MCKMDL00543760-762;

MCKMDL00355665-671; and MCKMDL00355693.

       McKesson also has produced multiple copies of the 2008 and 2017 agreements between

McKesson and the DEA as follows:

       •   2008 Agreement: MCKMDL00516358; MCKMDL00355561; and
           MCKMDL00332932.

       •   2017 Agreements: MCKMDL00436371; MCKMDL00456215;
           MCKMDL00437016; MCKMDL00455508; MCKMDL00409953;
           MCKMDL00409953; MCKMDL00525744; MCKMDL00532527;
           MCKMDL00409953; MCKMDL00409953; MCKMDL00525744;
           MCKMDL00450846; MCKMDL00553478; MCKMDL00560086;
           MCKMDL00418388; MCKMDL00419211; MCKMDL00455508;
           MCKMDL00407401; MCKMDL00355452; MCKMDL00355477;
           MCKMDL00355513; MCKMDL00409953; MCKMDL00409953;
           MCKMDL00525744; MCKMDL00556364; MCKMDL00355322;
           MCKMDL00355349; MCKMDL00355416; and MCKMDL00707554
           through MCKMDL00707683.

       Additional documents relating to McKesson’s distribution of opioids, its policies and

procedures for controlled substance monitoring, and communications with the DEA have been


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produced from the files of multiple McKesson custodians, in productions from non-custodial

sources, and in the prior productions that McKesson produced in response to paragraph 9.k.ii of

Case Management Order No. 1 (Docket No. 232) (referred to as “prior productions”). Appendix

A identifies the McKesson custodians in this proceeding along with their current/last known title

and their tenure at McKesson, including multiple custodians who were or are members of

McKesson U.S. Pharma Regulatory Affairs. Appendix B is a log of McKesson’s productions to

date that includes a description of each production along with production number ranges.

       McKesson also uses data analytics, data feeds relating to registration, certification and

licensing status, standard operating procedures (“SOPs”) and forms available online, and other

proprietary online tools in connection with its CSMP (collectively “online tools”). Those online

tools have evolved over time. They have been and are used to allow members of McKesson

Regulatory Affairs to monitor distribution of controlled substances and to perform diligence

relating to McKesson Customers, both generally and with regard to specific customers.

McKesson’s policies and procedures documents and communications with the DEA (listed

above by beginning production number) identify some of the reports and online tools that were

available over time.

       While these online tools operate off of McKesson’s network and cannot be produced as

used by McKesson employees, documents relating to McKesson’s online tools have been

produced, including SOPs and forms, documents identifying the types of reports available, and

many examples of McKesson “solver” reports. See, e.g., documents with beginning production

numbers MCKMDL00536004 (identifying types of reports); MCKMDL00396072,

MCKMDL00396104, and MCKMDL00396109 (examples of Script Dose Data Analyzer Tool

Reports); MCKMDL00514845 (example of TCR Tracking Tool Report); MCKMDL00514839



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(example of TCR Tracking SOP); MCKMDL00455859 (example of Customer Onboarding

Tracker); MCKMDL00448931 (example of Threshold Text Builder Tool); MCKMDL00396074,

MCKMDL00397863, MCKMDL00397865, MCKMDL00397868, and MCKMDL00397870

(examples of Solver reports); MCKMDL00144253 (example of CSMP Customer Master

Listing); MCKMDL00571387 (example of CSMP Customer Purchase Summary);

MCKMDL00048565 and MCKMDL00056613 (examples of CSMP Customer Threshold Master

Report); MCKMDL00535047 (example of CSMP DEA Family Threshold Report);

MCKMDL00571386 (example of CSMP Threshold Adjustment Recap Report). McKesson also

has produced native-file .twbx versions of the McKesson Government, ISMC and RNA Solvers

on Tableau (MCKMDL00666752, MCKMDL00666753, and MCKMDL00666754). McKesson

also has produced documents from the custodial files of Bernard Martin, Nawang Kunga, and

members of Regulatory Affairs relating to McKesson’s data analytics, online tools, solvers, and

other SOPs, reports and forms.

       McKesson has presented Nate Hartle and Gary Boggs as Rule 30(b)(6) designees in

response to deposition topics related to McKesson’s distribution of opioids, its CSMP and

predecessor monitoring programs, and communications with the DEA. Additional information

about McKesson’s distribution of opioids, its CSMP and predecessor monitoring programs, and

communications with the DEA has been provided by former and current McKesson employees

who have been deposed in this proceeding, including Gary Boggs, William deGutierrez-

Mahoney, Nate Hartle, Gary Hilliard, Tracy Jonas, Nawang Kunga, Thomas McDonald, Michael

Oriente, and Donald Walker. Attached as Appendix C is a list of all McKesson witnesses

deposed in Track One of this proceeding with their current or last known title.




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REQUEST NO. 3:

        Please identify and describe each suspicious order your Suspicious Order Monitoring
System (SOMS) identified since January 1, 2006 and produce all documents related thereto;
please identify the Bates stamp range for each related to Case Track One.

RESPONSE TO REQUEST NO. 3 (07/31/2018):

        McKesson objects to this request on the grounds stated in General Objection Nos. 1-2
and further incorporates by reference as if fully set forth herein its objections and response to
Plaintiffs’ Request for Production No. 33. Subject to and without waiving these objections,
McKesson responds that it has produced a report identifying blocked opioid orders placed by
Customers in Cuyahoga and Summit Counties for the time period January 1, 2006 through
December 17, 2017 in native-file Excel format assigned production number
MCKMDL00478912. During earlier time periods, McKesson submitted DU-45 forms to the
DEA relating to suspicious orders. To the extent that these hard copy records still exist, they are
stored in the McKesson distribution center that submitted the report or in offsite storage.
McKesson is reviewing its files to collect and produce any DU-45 reports that still exist and that
were submitted by the New Castle Distribution Center relating to opioid orders placed by
Customers in Cuyahoga and Summit Counties.

SUPPLEMENTAL RESPONSE TO REQUEST NO. 3 (11/30/2018):

       Superceded by second supplemental response below.

SECOND SUPPLEMENTAL RESPONSE TO REQUEST NO. 3 (03/04/2019):

       McKesson incorporates by reference its objections and response to this request and its

second supplemental response to Request No. 2 as set forth above. Subject to and without

waiving its objections, McKesson responds as follows:

       McKesson has produced blocked/suspicious order reports for McKesson Customers in

Cuyahoga and Summit Counties for mid-2008 – 06/30/18 that describe each of these orders as

follows:

       • MCKMDL00409044 for 01/01/13 – 12/18/17 time period
         (produced 07/16/2018)
       • MCKMDL00478912 for 01/01/06 – 12/18/17 time period
         (produced 07/25/2018)
         (report begins at 01/01/06 but entries do not begin until mid-2008)
       • MCKMDL00616425 and MCKMDL00616426 for 12/19/17 – 06/30/18 time period
         (produced 10/12/18)



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The orders listed on these reports were not shipped to the customer. The reports provided by

McKesson specify whether or not the blocked order was reported to the DEA. For blocked

orders that were reported to the DEA, McKesson makes its reports in the format required by the

DEA and it maintains PDF versions of those reports (made daily from each of the McKesson

distribution centers). McKesson has produced this information in this proceeding in Excel

spreadsheets so that the data is readily usable.

       For earlier time periods, McKesson provided DU-45 reports to the DEA. Those reports

were provided to the DEA and maintained by McKesson as hard copy paper records. McKesson

stored its copies in its distribution centers or in offsite storage. McKesson has not located any

DU-45 reports for the New Castle Distribution Center (the McKesson distribution center that

shipped more than 99% of the opioid products to McKesson Customers in Cuyahoga and

Summit Counties). However, McKesson has produced examples of DU-45 reports from its

Atlanta, Delran, Denver, Lakeland, Landover, Oklahoma City, and St. Louis distribution centers

bearing production numbers MCKMDL00651614 through MCKMDL00651826 and

MCKMDL00653069 through MCKMDL00661435.

       With regard to diligence performed by McKesson, McKesson has produced its diligence

files for McKesson Customers in Cuyahoga and Summit Counties, as follows:

   Production Volume           Beginning MDL No.          Ending MDL No.           Produced
   MCKMDL008                   MCKMDL00397861             MCKMDL00402444           07/03/2018
   MCKMDL016                   MCKMDL00496212             MCKMDL00496305           07/30/2018
   MCKMDL021                   MCKMDL00555448             MCKMDL00555744           08/10/2018
   MCKMDL025                   MCKMDL00568170             MCKMDL00568206           09/08/2018
   MCKMDL025                   MCKMDL00568207             MCKMDL00568281           09/08/2018
   MCKMDL039                   MCKMDL00647787             MCKMDL00647833           10/25/2018
   MCKMDL043                   MCKMDL00649082             MCKMDL00649873           11/09/2018

       Additional documents relating to McKesson’s distribution of opioids, its CSMP and

predecessor monitoring programs, blocked/suspicious orders and customer diligence have been


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produced from the files of multiple McKesson custodians, in productions from non-custodial

sources, and in the prior productions that McKesson produced in response to paragraph 9.k.ii of

Case Management Order No. 1 (Docket No. 232) (referred to as “prior productions”). Appendix

A identifies the McKesson custodians in this proceeding along with their current/last known title

and their tenure at McKesson, including multiple custodians who were or are members of

McKesson U.S. Pharma Regulatory Affairs. Appendix B is a log of McKesson’s productions to

date that includes a description of each production along with production number ranges.

       McKesson has presented Nate Hartle and Gary Boggs as Rule 30(b)(6) designees in

response to deposition topics related to McKesson’s distribution of opioids, its CSMP and

predecessor monitoring programs, and communications with the DEA. Additional information

about McKesson’s distribution of opioids, its CSMP and predecessor monitoring programs, and

communications with the DEA has been provided by former and current McKesson employees

who have been deposed in this proceeding, including Gary Boggs, William deGutierrez-

Mahoney, Nate Hartle, Gary Hilliard, Tracy Jonas, Nawang Kunga, Thomas McDonald, Michael

Oriente, and Donald Walker. Attached as Appendix C is a list of all McKesson witnesses

deposed in Track One of this proceeding with their current or last known title.

REQUEST NO. 4:

      Please identify each suspicious order you reported to the DEA since January 1, 1996 and
produce all documents related thereto; please identify the Bates stamp range for each related to
Case Track One.

RESPONSE TO REQUEST NO. 4 (07/31/2018):

        McKesson objects to this request on the grounds stated in General Objection Nos. 1-2
and further incorporates by reference as if fully set forth herein its objections and response to
Plaintiffs’ Request for Production No. 33. Subject to and without waiving these objections,
McKesson responds that it has produced a report identifying blocked opioid orders placed by
Customers in Cuyahoga and Summit Counties for the time period January 1, 2006 through
December 17, 2017 in native-file Excel format assigned production number



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MCKMDL00478912. This report specifies whether the blocked order was reported to the DEA.
During earlier time periods, McKesson submitted DU-45 forms to the DEA relating to suspicious
orders. To the extent that these hard copy records still exist, they are stored in the McKesson
distribution center that submitted the report or in offsite storage. McKesson is reviewing its files
to collect and produce any DU-45 reports that still exist and that were submitted by the New
Castle Distribution Center relating to opioid orders placed by Customers in Cuyahoga and
Summit Counties.

SUPPLEMENTAL RESPONSE TO REQUEST NO. 4 (11/30/2018):

       McKesson incorporates by reference its objections and response to this request and its
supplemental responses to Request Nos. 2 and 3 as set forth above. McKesson’s supplemental
response to Request No. 3 responds with regard to orders reported to the DEA.

SECOND SUPPLEMENTAL RESPONSE TO REQUEST NO. 4 (03/04/2019):

       McKesson incorporates by reference its objections and response to this request and its

second supplemental responses to Request Nos. 2 and 3 as set forth above. McKesson’s

supplemental response to Request No. 3 responds with regard to orders reported to the DEA.

REQUEST NO. 5:

        For each suspicious order you identified but did not report to the DEA since January 1,
2006, please describe in as much detail as possible the reasons and produce all documents related
thereto; please identify the Bates stamp range for each related to Case Track One.

RESPONSE TO REQUEST NO. 5 (07/31/2018):

        McKesson objects to this request on the grounds stated in General Objection Nos. 1-2
and further incorporates by reference as if fully set forth herein its objections and response to
Plaintiffs’ Request for Production No. 33. Subject to and without waiving these objections,
McKesson responds that it has produced a report identifying blocked opioid orders placed by
Customers in Cuyahoga and Summit Counties for the time period January 1, 2006 through
December 17, 2017 in native-file Excel format assigned production number
MCKMDL00478912. This report specifies whether the blocked order was reported to the DEA.
During earlier time periods, McKesson submitted DU-45 forms to the DEA relating to suspicious
orders. To the extent that these hard copy records still exist, they are stored in the McKesson
distribution center that submitted the report or in offsite storage. McKesson is reviewing its files
to collect and produce any DU-45 reports that still exist and that were submitted by the New
Castle Distribution Center relating to opioid orders placed by Customers in Cuyahoga and
Summit Counties.

SUPPLEMENTAL RESPONSE TO REQUEST NO. 5 (11/30/2018):

       Superceded by second supplemental response below.


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SECOND SUPPLEMENTAL RESPONSE TO REQUEST NO. 5 (03/04/2019):

       McKesson incorporates by reference its objections and response to this request and its

second supplemental responses to Request Nos. 2 and 3 as set forth above. Subject to and

without waiving its objections, McKesson responds as follows:

       With regard to diligence performed by McKesson, McKesson has produced its diligence

files for McKesson Customers in Cuyahoga and Summit Counties, as follows:

   Production Volume         Beginning MDL No.          Ending MDL No.           Produced
   MCKMDL008                 MCKMDL00397861             MCKMDL00402444           07/03/2018
   MCKMDL016                 MCKMDL00496212             MCKMDL00496305           07/30/2018
   MCKMDL021                 MCKMDL00555448             MCKMDL00555744           08/10/2018
   MCKMDL025                 MCKMDL00568170             MCKMDL00568206           09/08/2018
   MCKMDL025                 MCKMDL00568207             MCKMDL00568281           09/08/2018
   MCKMDL039                 MCKMDL00647787             MCKMDL00647833           10/25/2018
   MCKMDL043                 MCKMDL00649082             MCKMDL00649873           11/09/2018

       McKesson also has produced documents that address the history of McKesson’s

controlled substance monitoring programs, McKesson’s communications with the DEA relating

to those programs, and implementation of those programs. See, e.g., documents with beginning

production numbers MCKMDL00373814; MCKMDL00409116; MCKMDL00409483;

MCKMDL00409554; MCKMDL00409572; MCKMDL00409607; MCKMDL00409619;

MCKMDL00409636; MCKMDL00409662; MCKMDL00409676; MCKMDL00409714;

MCKMDL00409766; MCKMDL00409794; MCKMDL00409798; and MCKMDL00409800.

       Additional documents relating to McKesson’s distribution of opioids, its CSMP and

predecessor monitoring programs, blocked/suspicious orders and customer diligence have been

produced from the files of multiple McKesson custodians, in productions from non-custodial

sources, and in the prior productions that McKesson produced in response to paragraph 9.k.ii of

Case Management Order No. 1 (Docket No. 232) (referred to as “prior productions”). Appendix

A identifies the McKesson custodians in this proceeding along with their current/last known title


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and their tenure at McKesson, including multiple custodians who were or are members of

McKesson U.S. Pharma Regulatory Affairs. Appendix B is a log of McKesson’s productions to

date that includes a description of each production along with production number ranges.

       McKesson has presented Nate Hartle and Gary Boggs as Rule 30(b)(6) designees in

response to deposition topics related to McKesson’s distribution of opioids, its CSMP and

predecessor monitoring programs, and communications with the DEA. Additional information

about McKesson’s distribution of opioids, its CSMP and predecessor monitoring programs, and

communications with the DEA has been provided by former and current McKesson employees

who have been deposed in this proceeding, including Gary Boggs, William deGutierrez-

Mahoney, Nate Hartle, Gary Hilliard, Tracy Jonas, Nawang Kunga, Thomas McDonald, Michael

Oriente, and Donald Walker. Attached as Appendix C is a list of all McKesson witnesses

deposed in Track One of this proceeding with their current or last known title.

REQUEST NO. 6:

        For each suspicious order you reported to the DEA since January 1, 2006, please identify
whether you declined the order or shipped the order and produce all documents related thereto;
please identify the Bates stamp range for each related to Case Track One.

RESPONSE TO REQUEST NO. 6 (07/31/2018):

        McKesson objects to this request on the grounds stated in General Objection Nos. 1-2
and further incorporates by reference as if fully set forth herein its objections and response to
Plaintiffs’ Request for Production No. 33. Subject to and without waiving these objections,
McKesson responds that it has produced a report identifying blocked opioid orders placed by
Customers in Cuyahoga and Summit Counties for the time period January 1, 2006 through
December 17, 2017 in native-file Excel format assigned production number
MCKMDL00478912. This report specifies whether the blocked order was reported to the DEA.
During earlier time periods, McKesson submitted DU-45 forms to the DEA relating to suspicious
orders. To the extent that these hard copy records still exist, they are stored in the McKesson
distribution center that submitted the report or in offsite storage. McKesson is reviewing its files
to collect and produce any DU-45 reports that still exist and that were submitted by the New
Castle Distribution Center relating to opioid orders placed by Customers in Cuyahoga and
Summit Counties.




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SUPPLEMENTAL RESPONSE TO REQUEST NO. 6 (11/30/2018):

       Superceded by second supplemental response below.

SECOND SUPPLEMENTAL RESPONSE TO REQUEST NO. 6 (03/04/2019):

       McKesson incorporates by reference its objections and response to this request and its

second supplemental responses to Request Nos. 2 and 3 as set forth above. Subject to and

without waiving its objections, McKesson responds as follows:

       McKesson has produced blocked/suspicious order reports for McKesson Customers in

Cuyahoga and Summit Counties for mid-2008 – 06/30/18 as follows:

       • MCKMDL00409044 for 01/01/13 – 12/18/17 time period
         (produced 07/16/2018)
       • MCKMDL00478912 for 01/01/06 – 12/18/17 time period
         (produced 07/25/2018)
         (report begins at 01/01/06 but entries do not begin until mid-2008)
       • MCKMDL00616425 and MCKMDL00616426 for 12/19/17 – 06/30/18 time period
         (produced 10/12/18)

The orders listed on these reports were not shipped to the customer.

       For earlier time periods, McKesson provided DU-45 reports to the DEA. Those reports

were provided to the DEA and maintained by McKesson as hard copy paper records. McKesson

stored its copies in its distribution centers or in offsite storage. McKesson has not located any

DU-45 reports for the New Castle Distribution Center (the McKesson distribution center that

shipped more than 99% of the opioid products to McKesson Customers in Cuyahoga and

Summit Counties). However, McKesson has produced examples of DU-45 reports from its

Atlanta, Delran, Denver, Lakeland, Landover, Oklahoma City, and St. Louis distribution centers

bearing production numbers MCKMDL00651614 through MCKMDL00651826 and

MCKMDL00653069 through MCKMDL00661435.




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       Additional documents relating to blocked/suspicious orders, customer diligence, and

McKesson’s CSMP and predecessor monitoring programs have been produced from the files of

multiple McKesson custodians, in productions from non-custodial sources, and in the prior

productions that McKesson produced in response to paragraph 9.k.ii of Case Management Order

No. 1 (Docket No. 232) (referred to as “prior productions”). Appendix A identifies the

McKesson custodians in this proceeding along with their current/last known title and their tenure

at McKesson, including multiple custodians who were or are members of McKesson U.S.

Pharma Regulatory Affairs. Appendix B is a log of McKesson’s productions to date that

includes a description of each production along with production number ranges.

       McKesson has presented Nate Hartle and Gary Boggs as Rule 30(b)(6) designees in

response to deposition topics related to McKesson’s distribution of opioids, its CSMP and

predecessor monitoring programs, and communications with the DEA. Additional information

about McKesson’s distribution of opioids, its CSMP and predecessor monitoring programs, and

communications with the DEA has been provided by former and current McKesson employees

who have been deposed in this proceeding, including Gary Boggs, William deGutierrez-

Mahoney, Nate Hartle, Gary Hilliard, Tracy Jonas, Nawang Kunga, Thomas McDonald, Michael

Oriente, and Donald Walker. Attached as Appendix C is a list of all McKesson witnesses

deposed in Track One of this proceeding with their current or last known title.

REQUEST NO. 7:

       For each suspicious order you reported and then shipped since January 1, 2006, please
produce all documents related to your “due diligence” for each; please identify the Bates stamp
range for each related to Case Track One.

RESPONSE TO REQUEST NO. 7 (07/31/2018):

        McKesson objects to this request on the grounds stated in General Objection Nos. 1-2
and further incorporates by reference as if fully set forth herein its objections and responses to



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Plaintiffs’ Request for Production Nos. 24 and 33. Subject to and without waiving these
objections, McKesson responds that it has produced a report identifying blocked opioid orders
placed by Customers in Cuyahoga and Summit Counties for the time period January 1, 2006
through December 17, 2017 in native-file Excel format assigned production number
MCKMDL00478912. This report specifies whether the blocked order was reported to the DEA.
During earlier time periods, McKesson submitted DU-45 forms to the DEA relating to suspicious
orders. To the extent that these hard copy records still exist, they are stored in the McKesson
distribution center that submitted the report or in offsite storage. McKesson is reviewing its files
to collect and produce any DU-45 reports that still exist and that were submitted by the New
Castle Distribution Center relating to opioid orders placed by Customers in Cuyahoga and
Summit Counties. In addition, to the extent that this request calls for identification of diligence
files for Customers in Cuyahoga and Summit Counties, McKesson responds that it has produced
documents from these diligence files with the production numbers MCKMDL00397861 through
MCKMDL00402444 and MCKMDL00496212 through MCKMDL00496305. McKesson will
supplement this response to the extent that it produces additional documents from diligence files
for Customers in Cuyahoga and Summit Counties.

SUPPLEMENTAL RESPONSE TO REQUEST NO. 7 (11/30/2018):

       Superceded by second supplemental response below.

SECOND SUPPLEMENTAL RESPONSE TO REQUEST NO. 7 (03/04/2019):

       McKesson incorporates by reference its objections and response to this request and its

second supplemental responses to Request Nos. 2 and 3 as set forth above. Subject to and

without waiving its objections, McKesson responds as follows:

       With regard to diligence performed by McKesson, McKesson has produced its diligence

files for McKesson Customers in Cuyahoga and Summit Counties, as follows:

   Production Volume          Beginning MDL No.          Ending MDL No.            Produced
   MCKMDL008                  MCKMDL00397861             MCKMDL00402444            07/03/18
   MCKMDL016                  MCKMDL00496212             MCKMDL00496305            07/30/2018
   MCKMDL021                  MCKMDL00555448             MCKMDL00555744            08/10/2018
   MCKMDL025                  MCKMDL00568170             MCKMDL00568206            09/08/2018
   MCKMDL025                  MCKMDL00568207             MCKMDL00568281            09/08/2018
   MCKMDL039                  MCKMDL00647787             MCKMDL00647833            10/25/2018
   MCKMDL043                  MCKMDL00649082             MCKMDL00649873            11/09/2018

       Additional documents relating to customer diligence have been produced from the files of

multiple McKesson custodians, in productions from non-custodial sources, and in the prior



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productions that McKesson produced in response to paragraph 9.k.ii of Case Management Order

No. 1 (Docket No. 232) (referred to as “prior productions”). Appendix A identifies the

McKesson custodians in this proceeding along with their current/last known title and their tenure

at McKesson, including multiple custodians who were or are members of McKesson U.S.

Pharma Regulatory Affairs. Appendix B is a log of McKesson’s productions to date that

includes a description of each production along with production number ranges.

       McKesson has presented Nate Hartle and Gary Boggs as Rule 30(b)(6) designees in

response to deposition topics related to McKesson’s distribution of opioids, its CSMP and

predecessor monitoring programs, and communications with the DEA. Additional information

about McKesson’s distribution of opioids, its CSMP and predecessor monitoring programs, and

communications with the DEA has been provided by former and current McKesson employees

who have been deposed in this proceeding, including Gary Boggs, William deGutierrez-

Mahoney, Nate Hartle, Gary Hilliard, Tracy Jonas, Nawang Kunga, Thomas McDonald, Michael

Oriente, and Donald Walker. Attached as Appendix C is a list of all McKesson witnesses

deposed in Track One of this proceeding with their current or last known title.

REQUEST NO. 8:

      Please produce and identify the Bates stamp range of all communications to and/or from
the DEA since January 1, 2006, related to Opioids and/or Opioid Products (including the
2006/2007 “Rannazzisi letters”).

RESPONSE TO REQUEST NO. 8 (07/31/2018):

        McKesson objects to this request on the grounds set forth in General Objection Nos. 1-2
and further incorporates by reference as if fully stated herein its objections and response to
Request for Production No. 16. Subject to and without waiving its objections, in addition to
documents contained in its prior productions, the following documents produced by McKesson
relate to or constitute communications relating to interactions with the DEA relating to opioids
and also include the 2006 and 2007 Rannazzisi letters and documents relating to the DEA Order
to Show Cause Hearing (Lakeland, Florida Distribution Center):

Beginning No. & Volume       Ending No.                Description


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MCKMDL00409046                  MCKMDL00409868            Documents relating to interactions with
MCKMDL011                                                 the DEA
MCKMDL004789906                 MCKMDL00478911            DEA Rannazzisi letters
MCKMDL014                                                 (09/27/06, 12/27/17)
MCKMDL00496306                  MCKMDL00497711            Documents from DEA Order to Show
MCKMDL017                                                 Cause Hearing – Lakeland, Florida
                                                          Distribution Center

SUPPLEMENTAL RESPONSE TO REQUEST NO. 8 (11/30/2018):

           Superceded by second supplemental response below.

SECOND SUPPLEMENTAL RESPONSE TO REQUEST NO. 8 (03/04/2019):

           McKesson incorporates by reference its objections and response to this request and its

second supplemental response to Request No. 2 as set forth above. Subject to and without

waiving its objections, McKesson responds as follows:

           Communications with the DEA and related documents are included in McKesson’s prior

productions, have been produced from non-custodial sources, and may be contained in custodial

files, particularly in custodial files of former and current members of McKesson U.S. Pharma

Regulatory Affairs. In addition to documents identified in McKesson’s supplemental response to

Request No. 2, McKesson has identified the following DEA-related documents in its productions

to date:

   Beginning MDL                 Ending MDL No.           Description
   No./Vol.
   MCKMDL00355761                MCKMDL00355762          Donald Walker Letter re Landover and
   MCKMDL004-001                                         Ruther Glen Distribution Centers
   MCKMDL00409046                MCKMDL00409868          Documents relating to interactions with
   MCKMDL011                                             the DEA
   MCKMDL00478906                MCKMDL00478911          DEA Rannazzisi letters
   MCKMDL014                                             (09/27/06, 12/27/17)
   MCKMDL00496306                MCKMDL00497711          Documents from DEA Order to Show
   MCKMDL017                                             Cause Hearing – Lakeland, Florida
                                                         Distribution Center
   MCKMDL00579973                MCKMDL00579976          October 13, 2006 Letter from
   MCKMDL027                                             McKesson Counsel to Wayne Patrick,
                                                         DEA


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   Beginning MDL            Ending MDL No.          Description
   No./Vol.
   MCKMDL00591072           MCKMDL00591245          DEA-related documents for 2018 time
   MCKMDL029                                        period
   MCKMDL00694188           MCKMDL00694202          Government Prehearing Brief re
   MCKMDL059                                        Lackland Distribution Center Order to
                                                    Show Cause
   MCKMDL00698636           MCKMDL00706722          Materials provided to the IRO in
   MCKMDL065                                        connection with Compliance
                                                    Addendum
   MCKMDL00706863           MCKMDL00707171          Materials provided to the U.S.
   MCKMDL065                                        Attorney's Office for the N.D. West
                                                    Virginia
   MCKMDL00707172           MCKMDL00707553          DEA/DOJ-related communications and
   MCKMDL065                                        presentations
   MCKMDL00707684           MCKMDL00707727          2013 AIW and Affidavit related to the
   MCKMDL065                                        Aurora, CO Distribution Center
   MCKMDL00707876           MCKMDL00709281          Documents from DEA Order to Show
   MCKMDL065                                        Cause Hearing – Lakeland, Florida
                                                    Distribution Center
   MCKMDL00710904           MCKMDL00710945          DEA-related documents and
   MCKMDL068                                        communications

       McKesson also has produced multiple copies of the 2008 and 2017 agreements between

McKesson and the DEA as follows:

       •   2008 Agreement: MCKMDL00516358; MCKMDL00355561; and
           MCKMDL00332932.

       •   2017 Agreements: MCKMDL00436371; MCKMDL00456215;
           MCKMDL00437016; MCKMDL00455508; MCKMDL00409953;
           MCKMDL00409953; MCKMDL00525744; MCKMDL00532527;
           MCKMDL00409953; MCKMDL00409953; MCKMDL00525744;
           MCKMDL00450846; MCKMDL00553478; MCKMDL00560086;
           MCKMDL00418388; MCKMDL00419211; MCKMDL00455508;
           MCKMDL00407401; MCKMDL00355452; MCKMDL00355477;
           MCKMDL00355513; MCKMDL00409953; MCKMDL00409953;
           MCKMDL00525744; MCKMDL00556364; MCKMDL00355322;
           MCKMDL00355349; MCKMDL00355416; and MCKMDL00707554
           through MCKMDL00707683.

       In addition, McKesson has produced numerous prior productions relating to DEA

subpoenas that include materials produced to the DEA. These productions were identified in



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prior versions of this tracking chart and also are identified in the McKesson production log.

Additional documents relating to DEA communications and other DEA-related documents have

been produced from the files of multiple McKesson custodians.

       Additional documents relating to communications with the DEA have been produced

from the files of multiple McKesson custodians, in productions from non-custodial sources, and

in the prior productions that McKesson produced in response to paragraph 9.k.ii of Case

Management Order No. 1 (Docket No. 232) (referred to as “prior productions”). Appendix A

identifies the McKesson custodians in this proceeding along with their current/last known title

and their tenure at McKesson, including multiple custodians who were or are members of

McKesson U.S. Pharma Regulatory Affairs. Appendix B is a log of McKesson’s productions to

date that includes a description of each production along with production number ranges. In

addition to the productions it has made to date, McKesson anticipates that it will produce

additional documents from custodial and non-custodial sources that may include information

about McKesson’s communications with the DEA.

       McKesson has presented Gary Boggs as a Rule 30(b)(6) designee in response to

deposition topics related to McKesson’s communications with the DEA. Additional information

about the 2008 and 2017 settlement agreements and McKesson’s communications with the DEA

has been provided by former and current McKesson employees who have been deposed in this

proceeding, including Gary Boggs, William deGutierrez-Mahoney, Nate Hartle, Gary Hilliard,

Tracy Jonas, Thomas McDonald, Michael Oriente, and Donald Walker. Attached as Appendix C

is a list of all McKesson witnesses deposed in Track One of this proceeding with their current or

last known title.

Dated: December 6, 2018                          /s/ Dale A. Rice
                                                 Dale A. Rice


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                                        San Francisco, CA 94111
                                        drice@cov.com




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                               APPENDIX A: McKESSON DOCUMENT CUSTODIANS

Name                         Current/Last Known Title                                      Tenure
1. Berkey, Ann Richardson    Former Senior Vice President, Corporate Public Affairs        1988-2014
2. Binsse, Alexandra         Former Retail Sales Manager                                   Sept. 2003-July 2018
3. Biraki, Dauny             Senior Manager, Internal Audit                                2013-July 2018 (relevant role)
4. Bishop, Micheal           Regulatory Affairs Manager                                    Apr. 2000-Feb. 2018
5. Boggs, Gary               Vice President of Regulatory Affairs and Compliance           Nov. 2013-present
6. Bresnahan, Leigh          VP Sales - Retail                                             Feb. 2006-present
7. Byers, Kimberly           Retail Sales Manager                                          2010 – present
8. Cavacini, Eugene          SVP and COO, McKesson Pharmaceutical Solutions and Services   2002-present
9. Cook Nelson, Sabrina      Account Manager, RNA Support Solutions                        Mar. 1997-present
10. Davis, Gary              Director, Regulatory Affairs CSMP East Region                 Nov. 2014-present
11. de Gutierrez-Mahoney,    Director, Regulatory Affairs CSMP East Region                 2008-present
    William
12. Ferreira, Brian          VP General Manager                                            Sept. 1986-present
13. Foster, Timothy          District Sales Manager                                        Dec. 2011-Dec. 2018
14. Ganley, Joseph           VP Federal Government Affairs                                 June 2011-present
15. Graziano, David          Strategic Accounts Manager                                    Sept. 2006-Aug. 2018
16. Gustin, David            Director of Regulatory Affairs, North Central Region          Nov. 1996-Apr. 2016
17. Hartle, Nate             SVP, CSMP Regulatory Affairs & Compliance                     May 2014-present
18. Hilliard, Gary           Director, Regulatory Affairs                                  Nov. 1996-July 2016
19. Iuzzolino, Robert        Regulatory Affairs Manager, CSMP East Region                  Aug. 2015-present
20. Jonas, Tracy             Director of Operational Excellence                            2008-present (relevant roles)
21. Joslyn, Denise           Director, RNA Support Solutions                               Nov. 1992-present
22. Kunga, Nawang            Senior Analytics Manager, Regulatory Affairs & Compliance     June 2014-present (relevant role)
                             Interim Analytics Director, Regulatory Affairs & Compliance
23. Kuczynski, John          Retail Sales Manager                                          Dec. 1998-present
24. Martin, Bernard          Senior Director, Statistics & Analytics                       Sept. 1992-Sept. 2018
25. McDonald, Thomas         Director, Regulatory Affairs CSMP West Region                 2009-present
26. Nusser, Dale             Business Process Consultant (New Castle DC)                   Jan. 1991-present



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Name                          Current/Last Known Title                                      Tenure
27. Oriente, Michael          Director, Regulatory Affairs, CSMP Retail National Accounts   June 2004-present
28. Price, Robin              Account Manager, RNA Support Solutions                        Nov. 1996-present
29. Russell, Bruce            VP Regulatory Affairs                                         Oct. 1971-Apr. 2013
30. Slone, Peter              Senior Vice President, Corporate Public Affairs               May 2015-present
31. Smith, Jenna Nichols      Director, RNA Support Solutions                               June 2010-present
32. Snider, Blaine            Director of Operations (New Castle DC)                        Apr. 1980-present
33. Thompson, Wendy           Sales Administrator (New Castle DC)                           Sept. 1973-June 2018
34. Villarreal, Scott         Senior Manager, Internal Audit (left IA Sept. 2018)           May 2007-present
35. Walker, Donald            SVP of Regulatory Affairs & Distribution Operations           Sept. 1987-June 2015




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                              APPENDIX B: McKESSON LOG OF PRODUCTIONS TO DATE

Beginning MDL No./Vol.   Ending MDL No.     Other Production Nos./Vol.
                                                                   Description                              Produced
MCKMDL00000001           MCKMDL00309562     MCK 000001 - MCK 309524DEA Subpoena re Aurora CO Distribution   05/29/2018
MCKMDL001-001 to -003                                              Center
MCKMDL00309563           MCKMDL00314328     MCK_BOS_00000001 -     DEA 2013 Subpoena re Methuen MA          06/04/18
MCKMDL002                                   MCK_BOS_00004766       Distribution Center
MCKMDL00314329           MCKMDL00316996     MCK_CHI_00000001 -     DEA Subpoena re Chicagoland IL           06/04/18
MCKMDL002                                   MCK_CHI_00002668       Distribution Center
MCKMDL00316997           MCKMDL00317095     MCK_DVR_00000001 -     DEA Subpoena re Aurora CO Distribution   06/04/18
MCKMDL002                                   MCK_DVR_00000099       Center
MCKMDL00317096           MCKMDL00317763     MCK_LACR_00000001 -    DEA Subpoena re LaCrosse WI              06/04/18
MCKMDL002                                   MCK_LACR_00000668      Distribution Center
MCKMDL00317764           MCKMDL00320091     MCK_LAK_00000001 -     DEA Subpoena re Lakeland FL              06/04/18
MCKMDL002                                   MCK_LAK_00002328       Distribution Center
MCKMDL00320092           MCKMDL00324065     MCK_LIV_00000001 -     DEA Subpoena re Livonia MI               06/04/18
MCKMDL002                                   MCK_LIV_00003974       Distribution Center
MCKMDL00324066           MCKMDL00329072     MCK_WCH_00000001       DEA Subpoena re Washington               06/04/18
MCKMDL002                                   MCK_WCH_00005007       Courthouse OH Distribution Center
MCKMDL00329073           MCKMDL00330198     MCK_WVAAG_000000001 - West Virginia Attorney General subpoena   06/04/18
MCKMDL002                                   MCK_WVAAG_000001126
MCKMDL00330199           MCKMDL00330199     MCK-AGMS-003-0000001   Attorney General Multi-State             06/07/18
MCKMDL003-001                               MCK-AGMS-003
MCKMDL00330200           MCKMDL00330200     MCK-AGMS-005-0000001   Attorney General Multi-State             06/07/18
MCKMDL003-001                               MCK-AGMS-005
MCKMDL00330201           MCKMDL00330201     MCK-AGMS-007-0000001   Attorney General Multi-State             06/07/18
MCKMDL003-001                               MCK-AGMS-007
MCKMDL00330202           MCKMDL00330204     MCK-AGMS-009-0000001 - Attorney General Multi-State             06/07/18
MCKMDL003-001                               MCK-AGMS-009-0000003
                                            MCK-AGMS-009
MCKMDL00330205           MCKMDL00330205     MCK-AK-002-0000001     Alaska Attorney General                  06/07/18
MCKMDL003-001                               MCK-AK-002
MCKMDL00330206           MCKMDL00330206     MCK-AK-003-0000001     Alaska Attorney General                  06/07/18
MCKMDL003-001                               MCK-AK-003
                                                           1
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Beginning MDL No./Vol.    Ending MDL No.         Other Production Nos./Vol.   Description                             Produced
MCKMDL00330207            MCKMDL00330207         MCK-AK-004-0000001           Alaska Attorney General                 06/07/18
MCKMDL003-001                                    MCK-AK-004
MCKMDL00330208            MCKMDL00330208         MCK-AK-005-0000001           Alaska Attorney General                 06/07/18
MCKMDL003-001                                    MCK-AK-005
MCKMDL00330209            MCKMDL00330210         MCK-AK-007-0000001 -         Alaska Attorney General                 06/07/18
MCKMDL003-001                                    MCK-AK-007-0000002
                                                 MCK-AK-007
MCKMDL00330211            MCKMDL00330923         MCK-HOI-001-0000001 -        House Energy and Commerce               06/07/18
MCKMDL003-001                                    MCK-HOI-001-0000713          Subcommittee on Oversight and
                                                 MCK-HOI-001                  Investigations
MCKMDL00330924            MCKMDL00332931         MCK-HOI-002-0000001 -        House Energy and Commerce               06/07/18
MCKMDL003-001                                    MCK-HOI-002-0002008          Subcommittee on Oversight and
                                                 MCK-HOI-002                  Investigations
MCKMDL00332932            MCKMDL00332955         MCK-HOI-00300000001 -        House Energy and Commerce               06/07/18
MCKMDL003-001                                    MCK-HOI-00300000022          Subcommittee on Oversight and
                                                 MCK-HOI-003                  Investigations
MCKMDL00332956            MCKMDL00332957         MCK-IN-001-0000001 -         Indiana Attorney General                06/07/18
MCKMDL003-001                                    MCK-IN-001-0000002
                                                 MCK-IN-001
MCKMDL00332958            MCKMDL00333632         MCK-MA-001-0000001 -         Massachusetts Attorney General1         06/07/18
MCKMDL003-001                                    MCK-MA-001-0000675
                                                 MCK-MA-001
MCKMDL00333633            MCKMDL00333633         MCK-MS-XX-XXXXXXX            Mississippi Attorney General            06/07/18
MCKMDL003-001                                    MCK-MS-001
MCKMDL00333634            MCKMDL00333634         MCK-MT-001-0000001           Montana Attorney General                06/07/18
MCKMDL003-001                                    MCK-MT-001
MCKMDL00333635            MCKMDL00333635         MCK-MT-002-0000001           Montana Attorney General                06/07/18
MCKMDL003-001                                    MCK-MT



1
 McKesson is not producing Volume MCK-MA-002 because those materials have already been produced as MCKMDL00309563 -
MCKMDL00314328.
                                                                2
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Beginning MDL No./Vol.   Ending MDL No.        Other Production Nos./Vol.   Description                         Produced
MCKMDL00333636           MCKMDL00333637        MCK-MT-004-0000001 -         Montana Attorney General            06/07/18
MCKMDL003-001                                  MCK-MT-004-0000002
                                               MCK-MT-004
MCKMDL00333638           MCKMDL00334312        MCK-NH-001-0000001 -         New Hampshire Attorney General      06/07/18
MCKMDL003-001                                  MCK-NH-001-0000675
                                               MCK-NH-001
MCKMDL00334313           MCKMDL00334314        MCK-NH-002-0000001 -         New Hampshire Attorney General      06/07/18
MCKMDL003-001                                  MCK-NH-002-0000002
                                               MCK-NH-002
MCKMDL00334315           MCKMDL00334315        MCK-NH-003-0000001           New Hampshire Attorney General      06/07/18
MCKMDL003-001                                  MCK-NH-003
MCKMDL00334316           MCKMDL00334316        MCK-NH-005-0000001           New Hampshire Attorney General      06/07/18
MCKMDL003-001                                  MCK-NH-005
MCKMDL00334317           MCKMDL00334331        MCK-TN-001-0000001 -         Tennessee Attorney General          06/07/18
MCKMDL003-001                                  MCK-TN-001-0000015
                                               MCK-TN-001
MCKMDL00334332           MCKMDL00335034        MCK-AGMS-001-0000001 -       Attorney General Multi State        06/07/18
MCKMDL003-002                                  MCK-AGMS-001-0000703
                                               MCK-AGMS-001
MCKMDL00335035           MCKMDL00335748        MCK-AGMS-002-0000001 -       Attorney General Multi State2       06/07/18
MCKMDL003-002                                  MCK-AGMS-002-0000714
                                               MCK-AGMS-002
MCKMDL00335749           MCKMDL00335953        MCK-AGMS-004-0000001 -       Attorney General Multi State        06/07/18
MCKMDL003-002                                  MCK-AGMS-004-0000205
                                               MCK-AGMS-004
MCKMDL00335954           MCKMDL00337186        MCK-AGMS-006-0000001 -       Attorney General Multi State        06/07/18
MCKMDL003-002                                  MCK-AGMS-006-0001233
                                               MCK-AGMS-006



2
 McKesson is not producing Volume MCK-AGMS-011 or the portions of Volume MCK-AGMS-012 bearing production nos. MCK-AGMS-012-
0000489 - MCK-AGMS-012-0002719 because those materials have already been produced as MCKMDL00000001 - MCKMDL00309562.
                                                              3
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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                      Produced
MCKMDL00337187           MCKMDL00337308      MCK-AGMS-008-0000001 -       Attorney General Multi State     06/07/18
MCKMDL003-002                                MCK-AGMS-008-0000122
                                             MCK-AGMS-008
MCKMDL00337309           MCKMDL00337796      MCK-AGMS-012-0000001 -       Attorney General Multi State     06/07/18
MCKMDL003-002                                MCK-AGMS-012-0000488
                                             MCK-AGMS-012
MCKMDL00337797           MCKMDL00338518      MCK-AGMS-013-0000001 -       Attorney General Multi State     06/07/18
MCKMDL003-002                                MCK-AGMS-013-0000722
                                             MCK-AGMS-013
MCKMDL00338519           MCKMDL00341018      MCK-AGMS-014-0000001 -       Attorney General Multi State     06/07/18
MCKMDL003-002                                MCK-AGMS-014-0002500
                                             MCK-AGMS-014
MCKMDL00341019           MCKMDL00341709      MCK-AGMS-015-0000001 -       Attorney General Multi State     06/07/18
MCKMDL003-002                                MCK-AGMS-015-0000691
                                             MCK-AGMS-015
MCKMDL00341710           MCKMDL00342411      MCK-AK-XX-XXXXXXX -          Alaska Attorney General          06/07/18
MCKMDL003-002                                MCK-AK-XX-XXXXXXX
                                             MCK-AK-01
MCKMDL00342412           MCKMDL00342596      MCK-AK-006-0000001 -         Alaska Attorney General          06/07/18
MCKMDL003-002                                MCK-AK-006-0000185
                                             MCK-AK-006
MCKMDL00342597           MCKMDL00343338      MCK-IN-002-0000001 -         Indiana Attorney General         06/07/18
MCKMDL003-002                                MCK-IN-002-0000742
                                             MCK-IN-002
MCKMDL00343339           MCKMDL00343850      MCK-MA-003-0000001 -         Massachusetts Attorney General   06/07/18
MCKMDL003-002                                MCK-MA-003-0000512
                                             MCK-MA-003
MCKMDL00343851           MCKMDL00345842      MCK-MA-004-0000001 -         Massachusetts Attorney General   06/07/18
MCKMDL003-002                                MCK-MA-004-0001992
                                             MCK-MA-004
MCKMDL00345843           MCKMDL00346553      MCK-MT-003-0000001 -         Montana Attorney General         06/07/18
MCKMDL003-002                                MCK-MT-003-0000711
                                             MCK-MT-003
                                                            4
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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                               Produced
MCKMDL00346554           MCKMDL00348256      MCK-MT-005-0000001 -         Montana Attorney General                  06/07/18
MCKMDL003-002                                MCK-MT-005-0001703
                                             MCK-MT-005
MCKMDL00348257           MCKMDL00353063      MCK-MT-006-0000001 -         Montana Attorney General                  06/07/18
MCKMDL003-002                                MCK-MT-006-0004807
                                             MCK-MT-006
MCKMDL00353064           MCKMDL00353260      MCK-NH-004-0000001 -         New Hampshire Attorney General            06/07/18
MCKMDL003-002                                MCK-NH-004-0000197
                                             MCK-NH-004
MCKMDL00353261           MCKMDL00354204      Not applicable               Produced in response to MDL Plaintiffs’   06/07/18
MCKMDL003-003                                                             Requests for Production
MCKMDL00354205           MCKMDL00356234      MCK-WVAG-003-0000001 -       West Virginia Attorney General            06/11/18
MCKMDL004-001                                MCK-WVAG-003-0002030         (litigation)
                                             MCK-WVAG-003
MCKMDL00356235           MCKMDL00368196      MCK-WVAG-004-0000001 -       West Virginia Attorney General            06/11/18
MCKMDL004-001                                MCK-WVAG-004-0011962         (litigation)
                                             MCK-WVAG-004
MCKMDL00368197           MCKMDL00368255      MCK_BIRM_2015_000482 -       DEA 2015 Subpoena re Birmingham           06/11/18
MCKMCL004-002                                MCK_BIRM_2015_000536         Distribution Center
MCKMDL00368256           MCKMDL00368498      MCK (BHM) 000001 -           DEA 2013 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK (BHM) 000243             Distribution Center
MCKMDL00368499           MCKMDL00368499      MCK (BHM) 002106             DEA 2013 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                                             Distribution Center
MCKMDL00368500           MCKMDL00368777      MCK (BHM) 000244 -           DEA 2013 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK (BHM) 000521             Distribution Center
MCKMDL00368778           MCKMDL00370017      MCK000809-MCK003014          DEA Cyclic Inspection Subpoena re         06/11/18
MCKMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00370018           MCKMDL00370149      MCK (BHM) 001083 -           DEA 2013 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK (BHM) 001214             Distribution Center
MCKMDL00370150           MCKMDL00371500      MCK_BIRM_2015-000001 -       DEA 2015 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK_BIRM_2015-000480         Distribution Center
MCKMDL00371501           MCKMDL00371727      MCK (BHM) 000522 -           DEA 2013 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK (BHM) 000748             Distribution Center
                                                            5
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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                             Produced
MCKMDL00371728           MCKMDL00371739      None                         DEA Cyclic Inspection Subpoena re       06/11/18
MCKMDL004-002                                                             Methuen Distribution Center
MCKMDL00371740           MCKMDL00371740      None                         DEA Cyclic Inspection Subpoena re       06/11/18
MCLMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00371741           MCKMDL00371786      MCK_BOS_2016000077 -         DEA Cyclic Inspection Subpoena re       06/11/18
MCKMDL004-002                                MCK_BOS_2016000110           Methuen Distribution Center
MCKMDL00371787           MCKMDL00373468      MCK000122-MCK001791          DEA Cyclic Inspection Subpoena re       06/11/18
MCKMDL004-002                                                             Sacramento Distribution Center-2013
MCKMDL00373469           MCKMDL00373493      None                         DEA Cyclic Inspection Subpoena re       06/11/18
MCKMDL004-002                                                             Honolulu Distribution Center-2013
MCKMDL00373494           MCKMDL00373537      None                         DEA Cyclic Inspection Subpoena re       06/11/18
MCKMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00373538           MCKMDL00373592      None                         DEA Subpoena re LaCrosse Distribution   06/11/18
MCKMDL004-002                                                             Center
MCKMDL00373593           MCKMDL00373594      MCK_BIRM_2015-000480         DEA 2015 Subpoena re Birmingham         06/11/18
                                                                          Distribution Center
MCKMDL00373595           MCKMDL00373813      MCK (BHM) 000749 -           DEA 2013 Subpoena re Birmingham         06/11/18
MCKMDL004-002                                MCK (BHM) 000967             Distribution Center
MCKMDL00373814           MCKMDL00373841      None                         House Energy and Commerce               06/11/18
MCKMDL004-002                                                             Subcommittee on Oversight and
                                                                          Investigations
MCKMDL00373842           MCKMDL00373959      None                         DEA Cyclic Inspection Subpoena re       06/11/18
MCKMDL004-002                                                             Honolulu Distribution Center-2013
MCKMDL00373960           MCKMDL00374074      MCK (BHM) 000968 -           DEA 2013 Subpoena re Birmingham         06/11/18
MCKMDL004-002                                MCK (BHM) 001082             Distribution Center
MCKMDL00374075           MCKMDL00374172      None                         DEA 2014 Subpoena re LaCrosse           06/11/18
MCKMDL004-002                                                             Distribution Center
MCKMDL00374173           MCKMDL00374306      MCK (BHM) 001215 -           DEA 2013 Subpoena re Birmingham         06/11/18
MCKMDL004-002                                MCK (BHM) 001348             Distribution Center
MCKMDL00374307           MCKMDL00374868      MCK000001-MCK004073          DEA Cyclic Inspection Subpoena re       06/11/18
MCKMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00374869           MCKMDL00374896      None                         DEA Cyclic Inspection Subpoena re       06/11/18
MCKMDL004-002                                                             Sacramento Distribution Center-2013
                                                            6
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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                           Produced
MCKMDL00374897           MCKMDL00374899      MCK_DEL_2016_000018 –        DEA Cyclic Inspection Subpoena re     06/11/18
MCKMDL004-002                                MCK_DEL_2016_000019          Delran Distribution Center-2016
MCKMDL00374900           MCKMDL00374944      MCK_TRI_2015-000001 –        DEA Cyclic Inspection Subpoena re     06/11/18
MCKMDL004-002                                MCK_TRI_2015_000043          Tri States Distribution Center-2015
MCKMDL00374945           MCKMDL00380773      MCK-WVAG-001-0000001 -       West Virginia Attorney General        06/11/18
MCKMDL004-002                                MCK-WVAG-001-0005687         (litigation)
                                             MCK-WVAG-001
MCKMDL00380774           MCKMDL00381417      MCK-WVAG-002-0000001 -       West Virginia Attorney General        06/11/18
MCKMDL004-002                                MCK-WVAG-002-0000644         (litigation)
                                             MCK-WVAG-002
MCKMDL00381418           MCKMDL00381419      MCK-WVAG-005-0000001 -       West Virginia Attorney General        06/11/18
MCKMDL004-002                                MCK-WVAG-005-0000002         (litigation)
                                             MCK-WVAG-005
MCKMDL00381420           MCKMDL00381732      MCK003637-MCK003949          DEA Cyclic Inspection Subpoena re     06/11/18
MCKMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00381733           MCKMDL00381792      MCK003577-MCK003636          DEA Cyclic Inspection Subpoena re     06/11/18
MCKMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00381793           MCKMDL00381988      MCK (BHM) 001349 -           DEA 2013 Subpoena re Birmingham       06/11/18
MCKMDL004-002                                MCK (BHM) 001544             Distribution Center
MCKMDL00381989           MCKMDL00381999      None                         State of Ohio Board of Pharmacy       06/11/18
MCKMDL004-002
MCKMDL00382000           MCKMDL00382127      MCK003950-MCK004073          DEA Cyclic Inspection Subpoena re     06/11/18
MCKMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00382128           MCKMDL00382650      MCK002091-MCK002613          DEA Cyclic Inspection Subpoena re     06/11/18
MCKMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00382651           MCKMDL00382909      MCK001833-MCK002090          DEA Cyclic Inspection Subpoena re     06/11/18
MCKMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00382909           MCKMDL00383058      MCK (BHM) 001545 -           DEA 2013 Subpoena re Birmingham       06/11/18
MCKMDL004-002                                MCK (BHM) 001694             Distribution Center
MCKMDL00383059           MCKMDL00383128      MCK_EV_000001 -              DEA Cyclic Inspection Subpoena re     06/11/18
MCKMDL004-002                                MCK_EV_000070                Everett Distribution Center-2015
MCKMDL00383129           MCKMDL00383147      MCK_DEL_2016_000001 –        DEA Cyclic Inspection Subpoena re     06/11/18
MCKMDL004-002                                MCK_DEL_2016_000017          Delran Distribution Center-2016
                                                            7
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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                              Produced
MCKMDL00383148           MCKMDL00383149      None                         DEA Cyclic Inspection Subpoena re        06/11/18
MCKMDL004-002                                                             Sacramento Distribution Center-2013
MCKMDL00383150           MCKMDL00383178      None                         DEA Cyclic Inspection Subpoena re        06/11/18
MCKMDL004-002                                                             SoCal Distribution Center-2014
MCKMDL00383179           MCKMDL00383210      MCK_SoCal000001 –            DEA Cyclic Inspection Subpoena re        06/11/18
MCKMDL004-002                                MCK_SoCal000032              SoCal Distribution Center-2014
MCKMDL00383211           MCKMDL00383472      MCK (BHM) 001695 -           DEA 2013 Subpoena re Birmingham          06/11/18
MCKMDL004-002                                MCK (BHM) 001956             Distribution Center
MCKMDL00383473           MCKMDL00384023      MCK_RGL_000001 –             DEA Subpoena re Ruther Glen              06/11/18
MCKMDL004-002                                MCK_RGL_000551               Distribution Center
MCKMDL00384024           MCKMDL00385236      MCK001791-MCK003003          DEA Cyclic Inspection Subpoena re        06/11/18
MCKMDL004-002                                                             Sacramento Distribution Center-2013
MCKMDL00385237           MCKMDL00385256      None                         DEA Cyclic Inspection Subpoena re        06/11/18
MCKMDL004-002                                                             Methuen Distribution Center
MCKMDL00385257           MCKMDL00385257      None                         DEA Cyclic Inspection Subpoena re Salt   06/11/18
                                                                          Lake City Distribution Center-2015
MCKMDL00385258           MCKMDL00385268      None                         Committee on Homeland Security and       06/11/18
MCKMDL004-002                                                             Governmental Affairs (Senator
                                                                          McCaskill) – 10/12/17, 3/23/18
MCKMDL00385269           MCKMDL00385272      None                         DEA Cyclic Inspection Subpoena re Salt   06/11/18
MCKMDL004-002                                                             Lake City Distribution Center-2015
MCKMDL00383273           MCKMDL00385291      None                         DEA Cyclic Inspection Subpoena re        06/11/18
MCKMDL004-002                                                             SoCal Distribution Center-2014
MCKMDL00383292           MCKMDL00385323      MCK_SoCal000001 –            DEA Cyclic Inspection Subpoena re        06/11/18
MCKMDL004-002                                MCK_SoCal000032              SoCal Distribution Center-2014
MCKMDL00383324           MCKMDL00385339      None                         DEA Cyclic Inspection Subpoena re        06/11/18
MCKMDL004-002                                                             SoCal Distribution Center-2014
MCKMDL00385340           MCKMDL00385863      MCK000470-MCK000808          DEA Cyclic Inspection Subpoena re        06/11/18
MCKMDL004-002                                                             Delran Distribution Center-2013
MCKMDL00385864           MCKMDL00385869      None                         Tennessee Attorney General – 4/5/2018    06/11/18
MCKMDL004-002
MCKMDL00385870           MCKMDL00386018      MCK (BHM) 001957 -           DEA 2013 Subpoena re Birmingham          06/11/18
MCKMDL004-002                                MCK (BHM) 002105             Distribution Center
                                                            8
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MCKMDL00386019           MCKMDL00386036      MCK000122-MCK001790            DEA Cyclic Inspection Subpoena re         06/11/18
MCKMDL004-002                                                               Sacramento Distribution Center-2013
MCKMDL00386037           MCKMDL00386157      MCK000001-MCK000121            DEA Cyclic Inspection Subpoena re         06/11/18
MCKMDL004-002                                                               Sacramento Distribution Center-2013
MCKMDL00386158           MCKMDL00386162      MCK_TRI_2015-000001 –          DEA Cyclic Inspection Subpoena re         06/11/18
MCKMDL004-002                                MCK_TRI_2015_000005            Tri States Distribution Center-2015
MCKMDL00386163           MCKMDL00386631      MCK000001-MCK000469            DEA Cyclic Inspection Subpoena re         06/11/18
MCKMDL004-002                                                               Delran Distribution Center-2013
MCKMDL00386632           MCKMDL00386661      MCK_BIRM_2015_000149 –         DEA 2015 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK_BIRM_2015_000178           Distribution Center
MCKMDL00386662           MCKMDL00386712      MCK_BIRM_2015_000098 –         DEA 2015 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK_BIRM_2015_000148           Distribution Center
MCKMDL00386713           MCKMDL00386751      MCK_BIRM_2015_000188 –         DEA 2015 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK_BIRM_2015_000226           Distribution Center
MCKMDL00386752           MCKMDL00386760      MCK_BIRM_2015_000149 –         DEA 2015 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK_BIRM_2015_000178           Distribution Center
MCKMDL00386761           MCKMDL00386786      MCK_BIRM_2015_000179 –         DEA 2015 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK_BIRM_2015_000187           Distribution Center
MCKMDL00386787           MCKMDL00386857      MCK_BIRM_2015_000001 –         DEA 2015 Subpoena re Birmingham           06/11/18
MCKMDL004-002                                MCK_BIRM_2015_000071           Distribution Center
MCKMDL00386858           MCKMDL00386859      None                           California Board of Pharmacy              06/11/18
MCKMDL004-003
MCKMDL00386860           MCKMDL00386860      MCK-AGMS-010-0000001           Attorney General Multi State              06/07/18
MCKMDL003-004                                text file produced in native
                                             form
MCKMDL00386861           MCKMDL00394183      Not applicable                 Insurance Information produced pursuant   06/14/18
MCKMDL005                                                                   to CMO No. 1 § 3.d
MCKMDL00394184           MCKMDL00395121      MCK 0001 – MCK 0938            DEA Requests re Landover Distribution     06/25/18
MCKMDL006                                                                   Center – November 2011 Production
MCKMDL0395122            MCKMDL00395189      MCK000284 – MCK000351          DEA Cyclic Inspection Subpoena re         06/25/18
MCKMDL006                                                                   Omaha Distribution Center – 2013
MCKMDL00395190           MCKMDL00395203      None                           DEA Cyclic Inspection Subpoena re         06/25/18
MCKMDL006                                                                   Anchorage Distribution Center - 2011
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MCKMDL00395204           MCKMDL00395205      None                         California Board of Pharmacy              06/25/18
MCKMDL006
MCKMDL00395206           MCKMDL00395255      MCK_CLake_2017_000001 –      DEA Cyclic Inspection Subpoena re Clear   06/25/18
MCKMDL006                                    MCK_CLake_2017_000050        Lake Distribution Center - 2017
MCKMDL00395256           MCKMDL00395331      MCK_BOS_2016000001 –         DEA Cyclic Inspection Subpoena re         06/25/18
MCKMDL006                                    MCK_BOS_2016000076           Methuen Distribution Center
MCKMDL00395332           MCKMDL00395333      None                         DEA Cyclic Inspection Subpoena re         06/25/18
MCKMDL006                                                                 Everett Distribution Center-2015
MCKMDL00395334           MCKMDL00395354      MCK_EV_000071 –              DEA Cyclic Inspection Subpoena re         06/25/18
MCKMDL006                                    MCK_EV_000091                Everett Distribution Center-2015
MCKMDL00395355           MCKMDL00395401      MCKESSONWIS000001 –          DEA 2013 Subpoena re LaCrosse             06/25/18
MCKMDL006                                    MCKESSONWIS000023            Distribution Center
MCKMDL00395402           MCKMDL00395405      None                         DEA Requests re Landover Distribution     06/25/18
MCKMDL006                                                                 Center – July 2011 Production
MCKMDL00395406           MCKMDL00395525      MCK 0001-MCK 0120            DEA Requests re Landover Distribution     06/25/18
MCKMDL006                                                                 Center – July 2011 Production
MCKMDL00395526           MCKMDL00395526      None                         DEA Requests re Landover Distribution     06/25/18
MCKMDL006                                                                 Center – July 2011 Production
MCKMDL00395527           MCKMDL00395878      MCK000001 – MCK000351        DEA Cyclic Inspection Subpoena re         06/25/18
MCKMDL006                                                                 Omaha Distribution Center-2013
MCKMDL00395879           MCKMDL00395880      None                         DEA 2011 Subpoena re Oklahoma City        06/25/18
MCKMDL006                                                                 Distribution Center
MCKMDL00395881           MCKMDL00395881      None                         DEA Cyclic Inspection Subpoena re         06/25/18
MCKMDL006                                                                 Omaha Distribution Center-2013
MCKMDL00395882           MCKMDL00395890      None                         DEA 2014 Subpoena re LaCrosse             06/25/18
MCKMDL006                                                                 Distribution Center
MCKMDL00395891           MCKMDL00395903      MCK_BUF_000001 –             DEA 2014 Subpoena re Buffalo              06/25/18
MCKMDL006                                    MCK_BUF_000012               Distribution Center
MCKMDL00395904           MCKMDL00396011      MCKSAC000027 –               DEA Cyclic Inspection Subpoena re         06/25/18
MCKMDL006                                    MCKSAC000134                 Sacramento Distribution Center-2013
MCKMDL00395912           MCKMDL00396061      MCK_SLC000013 –              DEA Cyclic Inspection Subpoena re Salt    06/25/18
MCKMDL006                                    MCK_SLC000056                Lake City Distribution Center-2015

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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                               Produced
MCKMDL00396068           MCKMDL00397860      MCK-WVAG-006-0000001 –       West Virginia Attorney General action:    07/03/18
MCKMDL007                                    MCK-WVAG-006-0001793         documents produced after 06/11/18
                                             MCK-WVAG-006                 (Tim Ashworth Custodial Files)
MCKMDL00397861           MCKMDL00402444      Not applicable               Diligence files for Cuyahoga & Summit     07/03/18
MCKMDL008                                                                 County Customers-R: Drive
MCKMDL00402445           MDLMDL00403402      Not applicable               West Virginia Attorney General action:    07/09/18
MCKMDL009                                                                 deposition transcripts and exhibits for
                                                                          Gary Boggs, Eugene Cavacini, Ashley
                                                                          Clayborne, Matt Collett, Joe Ganley,
                                                                          Kirsti Lawson, Erin McKinney, and
                                                                          Jennifer Towsley
MCKMDL00403403           MCKMDL00409043      Not applicable               Documents from the custodial files of     07/13/18
MCKMDL010                                                                 Michael Oriente
MCKMDL00409044           MCKMDL00409044      Not applicable               Blocked Orders 01/01/13 – 12/18/17        07/16/18
MCKMDL011                                                                 Cuyahoga & Summit County Customers
MCKMDL00409045           MCKMDL00409045      Not applicable               Transaction Data 01/01/13 – 03/31/18      07/16/18
MCKMDL011                                                                 Cuyahoga & Summit County Customers
MCKMDL00409046           MCKMDL00409868      Not applicable               Documents relating to interactions with   07/16/18
MCKMDL011                                                                 the DEA
MCKMDL00409869           MCKMDL00453139      Not applicable               Documents from the custodial files of     07/20/18
MCKMDL012                                                                 Nate Hartle
MCKMDL00453140           MCKMDL00459552      Not applicable               Documents from the custodial files of     07/23/18
MCKMDL013                                                                 Nate Hartle
MCKMDL00459553           MCKMDL00473992      Not applicable               Documents from the custodial files of     07/23/18
MCKMDL013                                                                 Kimberly Byers (formerly Grayson)
MCKMDL00473993           MCKMDL00476494      Not applicable               Documents from the custodial files of     07/23/18
MCKMDL013                                                                 Alexandra Binsse
MCKMDL00476495           MCKMDL00478905      Not applicable               Documents from the custodial files of     07/23/18
MCKMDL013                                                                 David Graziano
MCKMDL00478906           MCKMDL00478911      Not applicable               DEA Rannazzisi letters                    07/25/2018
MCKMDL014                                                                 (09/27/06, 12/27/17)
MCKMDL00478912           MCKMDL00478912      Not applicable               Blocked Orders 01/01/06 – 12/18/17        07/25/2018
MCKMDL014                                                                 Cuyahoga & Summit County Customers
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MCKMDL00478913           MCKMDL00478913      Not applicable               Transaction Data 01/01/06 – 03/31/18      07/25/2018
MCKMDL014                                                                 Cuyahoga & Summit County Customers
MCKMDL00478914           MCKMDL00483436      Not applicable               McKesson Forms 10Q, Forms 10K and         07/25/2018
MCKMDL014                                                                 Annual Reports – Fiscal Years 2006-2018
MCKMDL00483437           MCKMDL00485025      Not applicable               Documents from the custodial files of     07/27/2018
MCKMDL015                                                                 Kimberly Byers (formerly Grayson)
MCKMDL00485026           MCKMDL00485402      Not applicable               Documents from the custodial files of     07/27/2018
MCKMDL015                                                                 Alexandra Binsse
MCKMDL00485403           MCKMDL00488496      Not applicable               Documents from the custodial files of     07/27/2018
MCKMDL015                                                                 David Graziano
MCKMDL00488497           MCKMDL00496211      Not applicable               Documents from the custodial files of     07/27/2018
MCKMDL015                                                                 John Kuczynski
MCKMDL00496212           MCKMDL00496305      Not applicable               Diligence files for Cuyahoga & Summit     07/30/2018
MCKMDL016                                                                 County Customers-SharePoint
MCKMDL00496306           MCKMDL00497711      Not applicable               Documents from DEA Order to Show          07/30/2018
MCKMDL017                                                                 Cause Hearing – Lakeland, Florida
                                                                          Distribution Center
MCKMDL00497712           MCKMDL00522682      Not applicable               Documents from the custodial files of     07/31/2018
MCKMDL018                                                                 David Gustin
MCKMDL00522683           MCKMDL00534475      Not applicable               Documents from the custodial files of     08/03/2018
MCKMDL019                                                                 Tracy Jonas
MCKMDL00534476           MCKMDL00539806      Not applicable               Documents from the custodial files of     08/03/2018
MCKMDL019                                                                 Donald Walker
MCKMDL00539807           MCKMDL00542107      Not applicable               Documents from the custodial files of     08/07/2018
MCKMDL020                                                                 Alexandra Binsse
MCKMDL00542108           MCKMDL00552589      Not applicable               Documents from the custodial files of     08/07/2018
MCKMDL020                                                                 Donald Walker
MCKMDL00552590           MCKMDL00555447      Not applicable               Documents from the custodial files of     08/07/2018
MCKMDL020                                                                 Gary Boggs
MCKMDL00555448           MCKMDL00555744      Not applicable               Diligence files for Cuyahoga & Summit     08/10/2018
MCKMDL021                                                                 County Customers-Hard Copy, R: Drive
MCKMDL00555745           MCKMDL00556229      Not applicable               Documents from the custodial files of     08/24/2018
MCKMDL022                                                                 Donald Walker
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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                                 Produced
MCKMDL00556230           MCKMDL00562872      Not applicable               Documents from the custodial files of       08/28/2018
MCKMDL023                                                                 Gary Boggs
MCKMDL00562873           MCKMDL00565905      Not applicable               Documents from the custodial files of       08/31/2018
MCKMDL024                                                                 Brian Ferreira
MCKMDL00565906           MCKMDL00567623      Not applicable               Documents from the custodial files of Tim   08/31/2018
MCKMDL024                                                                 Foster
MCKMDL00567624           MCKMDL00567812      Not applicable               Documents from the custodial files of       09/08/2018
MCKMDL025                                                                 Scott Villarreal
MCKMDL00567813           MCKMDL00568169      Not applicable               Documents from the custodial files of       09/08/2018
MCKMDL025                                                                 Dauny Biraki
MCKMDL00568170           MCKMDL00568206      Not applicable               Diligence files for Cuyahoga & Summit       09/08/2018
MCKMDL025                                                                 County Customers-R: Drive
MCKMDL00568207           MCKMDL00568281      Not applicable               Diligence files for Cuyahoga & Summit       09/08/2018
MCKMDL025                                                                 County Customers-hard copy files
MCKMDL00568282           MCKMDL00571008      Not applicable               Documents from the custodial files of       09/14/2018
MCKMDL026                                                                 Nate Hartle
MCKMDL00571009           MCKMDL00571302      Not applicable               Documents from the custodial files of       09/14/2018
MCKMDL026                                                                 Kimberly Byers
MCKMDL00571303           MCKMDL00571324      Not applicable               Documents from the custodial files of       09/14/2018
MCKMDL026                                                                 David Graziano
MCKMDL00571325           MCKMDL00571327      Not applicable               Documents from the custodial files of       09/14/2018
MCKMDL026                                                                 John Kuczynski
MCKMDL00571328           MCKMDL00571375      Not applicable               Documents from the custodial files of       09/14/2018
MCKMDL026                                                                 Donald Walker
MCKMDL00571376           MCKMDL00579971      Not applicable               Documents from the custodial files of       09/14/2018
MCKMDL026                                                                 Tom McDonald
MCKMDL00579972           MCKMDL00579972      Not applicable               Transaction Data 10/01/04 – 12/31/05        09/14/2018
MCKMDL027                                                                 Cuyahoga & Summit County Customers
MCKMDL00579973           MCKMDL00579976      Not applicable               October 13, 2006 Letter from McKesson       09/14/2018
MCKMDL027                                                                 Counsel to Wayne Patrick, DEA
MCKMDL00579977           MCKMDL00584203      Not applicable               Documents from the custodial files of       09/21/2018
MCKMDL028                                                                 Robert Iuzzolino

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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                             Produced
MCKMDL00584204           MCKMDL00584909      Not applicable               Documents from the custodial files of   09/21/2018
MCKMDL028                                                                 Dale Nusser
MCKMDL00584910           MCKMDL00585474      Not applicable               Documents from the custodial files of   09/21/2018
MCKMDL028                                                                 Wendy Thompson
MCKMDL00585475           MCKMDL00591071      Not applicable               Documents from the custodial files of   09/21/2018
MCKMDL028                                                                 Joseph Ganley
MCKMDL00591072           MCKMDL00591245      Not applicable               DEA-related documents for 2018 time     09/21/2018
MCKMDL029                                                                 period
MCKMDL00591245           MCKMDL00595593      Not applicable               Internal Audit Reports and supporting   09/27/2018
MCKMDL030                                                                 materials
MCKMDL00595594           MCKMDL00595844      Not applicable               Documents from the custodial files of   09/28/2018
MCKMDL031                                                                 Tracy Jonas
MCKMDL00595845           MCKMDL00595911      Not applicable               Documents from the custodial files of   09/28/2018
MCKMDL031                                                                 David Gustin
MCKMDL00595912           MCKMDL00602426      Not applicable               Documents from the custodial files of   09/28/2018
MCKMDL031                                                                 Blaine Snider
MCKMDL00602427           MCKMDL00606032      Not applicable               Documents from the custodial files of   09/28/2018
MCKMDL031                                                                 Gary Davis
MCKMDL00606033           MCKMDL00606060      Not applicable               Documents relating to McKesson STARS    09/28/2018
MCKMDL032                                                                 audits
MCKMDL00606061           MCKMDL00606061      Not applicable               Summit Cuyahoga Threshold History       09/28/2018
MCKMDL032                                                                 Report
MCKMDL00606062           MCKMDL00606062      Not applicable               Summit Cuyahoga Transactional Data      09/28/2018
MCKMDL032                                                                 04-01-18 to 06-30-18
MCKMDL00606063           MCKMDL00609795      Not applicable               Internal Audit Reports and supporting   10/11/2018
MCKMDL033                                                                 materials
MCKMDL00609796           MCKMDL00610091      Not applicable               Documents from the custodial files of   10/12/2018
MCKMDL034                                                                 Leigh Bresnahan
MCKMDL00610092           MCKMDL00611345      Not applicable               Documents from the custodial files of   10/12/2018
MCKMDL034                                                                 Gene Cavacini
MCKMDL00611346           MCKMDL00611631      Not applicable               Documents from the custodial files of   10/12/2018
MCKMDL034                                                                 Micheal Bishop

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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                             Produced
MCKMDL00611632           MCKMDL00616424      Not applicable               Documents from the custodial files of   10/12/2018
MCKMDL034                                                                 Gary Hilliard
MCKMDL00616425           MCKMDL00616426      Not applicable               Blocked Orders 12/19/17 – 06/30/18      10/12/2018
MCKMDL035                                                                 Cuyahoga & Summit County Customers
MCKMDL00616427           MCKMDL00616858      Not applicable               Internal Audit Reports and supporting   10/18/2018
MCKMDL036                                                                 materials
MCKMDL00616859           MCKMDL00619920      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Gary Hilliard
MCKMDL00619921           MCKMDL00619925      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Gene Cavacini
MCKMDL00619926           MCKMDL00619929      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Leigh Bresnahan
MCKMDL00619930           MCKMDL00620378      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Micheal Bishop
MCKMDL00620379           MCKMDL00620430      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Denise Joslyn
MCKMDL00620431           MCKMDL00622526      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Bernard Martin
MCKMDL00622527           MCKMDL00625547      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Bruce Russell
MCKMDL00625548           MCKMDL00626933      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Jenna Smith (formerly Nichols)
MCKMDL00626934           MCKMDL00639030      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Michael Oriente
MCKMDL00639031           MCKMDL00641372      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 William de Gutierrez-Mahoney
MCKMDL00641373           MCKMDL00642068      Not applicable               Documents from the custodial files of   10/19/2018
MCKMDL037                                                                 Donald Walker
MCKMDL00642049           MCKMDL00642073      Not applicable               Documents from the custodial files of   10/25/2018
MCKMDL038                                                                 Gary Hilliard
MCKMDL00642074           MCKMDL00642660      Not applicable               Documents from the custodial files of   10/25/2018
MCKMDL038                                                                 Gene Cavacini

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MCKMDL00642661           MCKMDL00642985      Not applicable               Documents from the custodial files of       10/25/2018
MCKMDL038                                                                 Leigh Bresnehan
MCKMDL00642986           MCKMDL00643325      Not applicable               Documents from the custodial files of       10/25/2018
MCKMDL038                                                                 Micheal Bishop
MCKMDL00643326           MCKMDL00643920      Not applicable               Documents from the custodial files of       10/25/2018
MCKMDL038                                                                 Denise Joslyn
MCKMDL00643921           MCKMDL00643923      Not applicable               Documents from the custodial files of       10/25/2018
MCKMDL038                                                                 Bernard Martin
MCKMDL00643924           MCKMDL00643926      Not applicable               Documents from the custodial files of       10/25/2018
MCKMDL038                                                                 Bruce Russell
MCKMDL00643927           MCKMDL00646981      Not applicable               Documents from the custodial files of       10/25/2018
MCKMDL038                                                                 Jenna Smith (formerly Nichols)
MCKMDL00646982           MCKMDL00647769      Not applicable               Documents from the custodial files of       10/25/2018
MCKMDL038                                                                 Robin Price
MCKMDL00647770           MCKMDL00647786      Not applicable               Documents from the custodial files of       10/25/2018
MCKMDL038                                                                 Sabrina Cook Nelson
MCKMDL00647787           MCKMDL00647834      Not applicable               Diligence file documents from               10/25/2018
MCKMDL039                                                                 McKesson’s McKCAT Platform
MCKMDL00647835           MCKMDL00648110      Not applicable               Documents from the custodial files of       11/02/2018
MCKMDL040                                                                 Blaine Snider
MCKMDL00648111           MCKMDL00648829      Not applicable               Documents from the custodial files of       11/02/2018
MCKMDL040                                                                 Gary Boggs
MCKMDL00648830           MCKMDL00648963      Not applicable               Documents from the custodial files of       11/02/2018
MCKMDL040                                                                 Brian Ferreira
MCKMDL00648964           MCKMDL00648979      Not applicable               Documents from the custodial files of Tim   11/02/2018
MCKMDL040                                                                 Foster
MCKMDL00648980           MCKMDL00649069      Not applicable               McKesson Manufacturer Marketing             11/02/2018
MCKMDL041                                                                 Product Promotional Agreements and
                                                                          related documents
MCKMDL00649070           MCKMDL00649081      Not applicable               Photographs of McKesson’s New Castle        11/06/2018
MCKMDL042                                                                 Distribution Center
MCKMDL00649082           MCKMDL00649873      Not applicable               Diligence file documents from               11/09/2018
MCKMDL043                                                                 McKesson’s McKCAT Platform
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MCKMDL00649874           MCKMDL00649967      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Robert Iuzzolino
MCKMDL00649968           MCKMDL00649971      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Dale Nusser
MCKMDL00649972           MCKMDL00650726      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Joseph Ganley
MCKMDL00650727           MCKMDL00650972      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Thomas McDonald
MCKMDL00650973           MCKMDL00651319      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Dauny Biraki
MCKMDL00651320           MCKMDL00651369      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 William de Gutierrez-Mahoney
MCKMDL00651370           MCKMDL00651464      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Nate Hartle
MCKMDL00651465           MCKMDL00651477      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Alexandra Binsse
MCKMDL00651478           MCKMDL00651482      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 David Graziano
MCKMDL00651483           MCKMDL00651517      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 David Gustin
MCKMDL00651518           MCKMDL00651531      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Gary Boggs
MCKMDL00651532           MCKMDL00651533      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Gary Hilliard
MCKMDL00651534           MCKMDL00651613      Not applicable               Documents from the custodial files of   11/16/2018
MCKMDL044                                                                 Ann Richardson Berkey
MCKMDL00651614           MCKMDL00651826      Not applicable               Sample DU-45 Report from Denver         11/21/2018
MCKMDL045                                                                 Distribution Center
MCKMDL00651827           MCKMDL00651872      Not applicable               Internal Audit Policies & Procedures,   11/21/2018
MCKMDL045                                                                 SOPs, template kick-off presentation
MCKMDL00651873           MCKMDL00652197      Not applicable               1997 Drug Operations Manual, Section    11/21/2018
MCKMDL045                                                                 55, DEA Compliance

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MCKMDL00652198           MCKMDL00652581      Not applicable               Documents from the custodial files of         11/28/2018
MCKMDL046                                                                 Ann Richardson Berkey
MCKMDL00652582           MCKMDL00653068      Not applicable               Documents from the hard copy custodial        11/28/2018
MCKMDL047                                                                 files of Ann Richardson Berkey
MCKMDL00653069           MCKMDL00661435      Not applicable               Sample DU-45 Reports-Atlanta, Delran,         11/30/2018
MCKMDL048                                                                 Denver, Lakeland, Landover, Oklahoma
                                                                          City and St. Louis Distribution Centers
MCKMDL00661436           MCKMDL00661731      Not applicable               Documents from the custodial files of         12/05/2018
MCKMDL049                                                                 Ann Richardson Berkey
MCKMDL00661732           MCKMDL00662208      Not applicable               Documents from the custodial files of         12/05/2018
MCKMDL049                                                                 Gary Hilliard
MCKMDL00662209           MCKMDL00662259      Not applicable               Documents from the custodial files of         12/05/2018
MCKMDL049                                                                 Bruce Russell
MCKMDL00662260           MCKMDL00662355      Not applicable               Documents from the personnel files of         12/05/2018
MCKMDL050                                                                 Thomas McDonald                               12/06/2018
MCKMDL00662356           MCKMDL00664216      Not applicable               West Virginia AG action and Montana           12/18/2018
MCKMDL051                                                                 AG investigation: testimony, exhibits,
                                                                          errata and confidentiality designations for
                                                                          McKesson witnesses Tim Ashworth
                                                                          (WV), Matt Boness (MT), Fred Feider
                                                                          (MT), Robert Iuzzolino (WV), John
                                                                          Kuczynski (WV), Karen Lewis (WV), and
                                                                          Tim Martin (MT)
MCKMDL00664217           MCKMDL00664507      Not applicable               Reports provided to McKesson by IQVIA         12/18/2018
MCKMDL052                                                                 and its predecessors
MCKMDL00664508           MCKMDL00666751      Not applicable               Documents from the custodial files of         12/28/2018
MCKMDL053                                                                 Bernard Martin
MCKMDL00666752           MCKMDL00666754      Not applicable               Native-file .twbx versions of the             12/28/2018
MCKMDL054                                                                 McKesson Government, ISMC and RNA
                                                                          Solvers on Tableau
MCKMDL00666755           MCKMDL00666785      Not applicable               Documents from the custodial files of         12/31/2018
MCKMDL055                                                                 Gene Cavacini

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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                                Produced
MCKMDL00666786           MCKMDL00666788      Not applicable               Documents from the custodial files of      12/31/2018
MCKMDL055                                                                 Micheal Bishop
MCKMDL00666789           MCKMDL00666790      Not applicable               Documents from the custodial files of      12/31/2018
MCKMDL055                                                                 Bruce Russell
MCKMDL00666771           MCKMDL00667109      Not applicable               Documents from the custodial files of      12/31/2018
MCKMDL055                                                                 Gary Hilliard
MCKMDL00667110           MCKMDL00668488      Not applicable               Documents from the custodial files of      01/04/2019
MCKMDL056                                                                 Pete Slone
MCKMDL00668489           MCKMDL00675197      Not applicable               Documents from the custodial files of      01/04/2019
MCKMDL056                                                                 Nawang Kunga
MCKMDL00675198           MCKMDL00675224      Not applicable               McKesson – Analysis Group, Inc.            01/04/2019
MCKMDL057                                                                 Engagement Letter
MCKMDL00675225           MCKMDL00675334      Not applicable               Documents from the personnel files of      01/04/2019
MCKMDL057                                                                 Micheal Bishop
MCKMDL00675335           MCKMDL00675412      Not applicable               Documents from the personnel files of      01/04/2019
MCKMDL057                                                                 Gary Hilliard
MCKMDL00675413           MCKMDL00675454      Not applicable               Documents from the personnel files of      01/04/2019
MCKMDL057                                                                 Bruce Russell
MCKMDL00675455           MCKMDL00675595      Not applicable               Documents from the personnel files of      01/04/2019
MCKMDL057                                                                 Donald Walker
MCKMDL00675596           MCKMDL00675596      Not applicable               Updated Threshold Change History           01/04/2019
MCKMDL057                                                                 Report with customer names added for
                                                                          McKesson customers in Cuyahoga and
                                                                          Summit Counties
MCKMDL00675597           MCKMDL00675597      Not applicable               Transactional Data including net invoice   01/04/2019
MCKMDL057                                                                 value for Cuyahoga County customers
                                                                          (10/01/2004-06/30/2018)
MCKMDL00675598           MCKMDL00675598      Not applicable               Transactional Data including net invoice   01/04/2019
MCKMDL057                                                                 value for Summit County customers
                                                                          (10/01/2004-06/30/2018)
MCKMDL00675599           MCKMDL00694187      Not applicable               Documents from the custodial files of      01/11/2019
MCKMDL058                                                                 Nawang Kunga

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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                                Produced
MCKMDL00694188           MCKMDL00694202      Not applicable               Government Prehearing Brief re Lackland    01/11/2019
MCKMDL059                                                                 Distribution Center Order to Show Cause
MCKMDL00694203           MCKMDL00694232      Not applicable               McKesson Board of Directors – Audit        01/11/2019
MCKMDL059                                                                 Committee – Minutes
MCKMDL00694233           MCKMDL00694260      Not applicable               Documents from personnel files of          01/11/2019
MCKMDL059                                                                 Gary Boggs
MCKMDL00694261           MCKMDL00694841      Not applicable               Agreements and related documents           01/11/2019
MCKMDL059                                                                 between McKesson and IQVIA and its
                                                                          predecessors
MCKMDL00694842           MCKMDL00694932      Not applicable               Board of Directors minutes and             01/11/2019
MCKMDL059                                                                 presentations
MCKMDL00694933           MCKMDL00694955      Not applicable               McKesson opioid white paper and            01/11/2019
MCKMDL059                                                                 recommendations
MCKMDL00694956           MCKMDL00695062      Not applicable               Gary Boggs MDL Rule 30(b)(6)               01/14/2019
MCKMDL060                                                                 Deposition Transcript, errata and
                                                                          confidentiality designations
MCKMDL00695063           MCKMDL00695112      Not applicable               U.S. Pharmaceutical Controlled Substance   01/15/2019
MCKMDL061                                                                 Monitoring Program, Presentation to the
                                                                          West Virginia Attorney General
MCKMDL00695113           MCKMDL00695115      Not applicable               Documents from custodial files of          01/18/2019
MCKMDL062                                                                 Michael Oriente
MCKMDL00695116           MCKMDL00695127      Not applicable               Document from the custodial files of       01/18/2019
MCKMDL062                                                                 Gene Cavacini
MCKMDL00695128           MCKMDL00695132      Not applicable               Document previously produced as            01/18/2019
MCKMDL062                                                                 MCKMDL00546920 – less redacted
MCKMDL00695133           MCKMDL00695296      Not applicable               Agreements between McKesson and            01/18/2019
MCKMDL062                                                                 B&W Pharmacies (Klein’s)
MCKMDL00695297           MCKMDL00695671      Not applicable               Agreements between McKesson and CVS        01/18/2019
MCKMDL062
MCKMDL00695672           MCKMDL00695797      Not applicable               Agreements between McKesson and            01/18/2019
MCKMDL062                                                                 Giant Eagle
MCKMDL00695798           MCKMDL00695830      Not applicable               Agreements between McKesson and Marc       01/18/2019
MCKMDL062                                                                 Glassman, Inc.
                                                              20
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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                                 Produced
MCKMDL00695831           MCKMDL00695835      Not applicable               Handwritten notes taken by Eugene           01/18/2019
MCKMDL062                                                                 Cavicini
MCKMDL00695836           MCKMDL00695932      Not applicable               Documents from the personnel files of       01/18/2019
MCKMDL062                                                                 Eugene Cavicini
MCKMDL00695933           MCKMDL00695969      Not applicable               Documents from the personnel files of       01/18/2019
MCKMDL062                                                                 Nawang Kunga
MCKPUB00000001           MCKPUB00023729      Not applicable               Publicly-available documents identifying    01/23/2019
MCKPUB001                                                                 non-parties who engaged in misconduct
                                                                          involving opioids
MCKMDL00695970           MCKMDL00696669      Not applicable               Documents from the custodial files of       01/25/2019
MCKMDL063                                                                 Michael Oriente
MCKMDL00696670           MCKMDL00696722      Not applicable               Documents from the custodial files of       01/25/2019
MCKMDL063                                                                 Gary Davis
MCKMDL00696723           MCKMDL00696768      Not applicable               Documents from the custodial files of       01/25/2019
MCKMDL063                                                                 Jenna Smith (formerly Nichols)
MCKMDL00696769           MCKMDL00696770      Not applicable               Documents from the custodial files of       01/25/2019
MCKMDL063                                                                 Robin Price
MCKMDL00696771           MCKMDL00696893      Not applicable               Documents from the custodial files of       01/25/2019
MCKMDL063                                                                 Leigh Bresnahan
MCKPUB00023730           MCKPUB00023964      Not applicable               Publicly-available documents identifying    01/25/2019
MCKPUB002                                                                 non-parties who engaged in misconduct
                                                                          involving opioids
MCKMDL00696894           MCKMDL00698635      MCK-OHAG-00000001-           Blocked order reports to Ohio Board of      01/31/2019
MCKMDL064                                    MCK-OHAG-00001742            Pharmacy
MCKMDL00698636           MCKMDL00706722      MCK-AGMS-019-0000001-        Materials provided to the IRO in            02/08/2019
MCKMDL065                                    MCK-AGMS-019-0008087         connection with Compliance Addendum
MCKMDL00706723           MCKMDL00706862      MCK-AGMS-019-0008088-        McKesson Manufacturer Marketing             02/08/2019
MCKMDL065                                    MCK-AGMS-019-0008227         Product Promotional Agreements and
                                                                          related documents
MCKMDL00706863           MCKMDL00707171      MCK-AGMS-019-0008228-        Materials provided to the U.S. Attorney's   02/08/2019
MCKMDL065                                    MCK-AGMS-019-0008536         Office for the N.D. West Virginia
MCKMDL00707172           MCKMDL00707683      MCK-AGMS-024-0000001 -       DEA/DOJ-related communications and          02/08/2019
MCKMDL065                                    MCK-AGMS-024-0000512         presentations, 2017 settlement documents
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Beginning MDL No./Vol.   Ending MDL No.      Other Production Nos./Vol.   Description                                Produced
MCKMDL00707684           MCKMDL00707727      MCK-AGMS-024-0000513 -       2013 AIW and Affidavit related to the      02/08/2019
MCKMDL065                                    MCK-AGMS-024-0000556         Aurora, CO Distribution Center
MCKMDL00707728           MCKMDL00707875      MCK-AGMS-024-0000557 -       McKesson Codes of Conduct                  02/08/2019
MCKMDL065                                    MCK-AGMS-024-0000704
MCKMDL00707876           MCKMDL00709281      MCK-AGMS-024-0000705 -       Documents from DEA Order to Show           02/08/2019
MCKMDL065                                    MCK-AGMS-024-0002110         Cause Hearing – Lakeland, Florida
                                                                          Distribution Center
MCKMDL00709282           MCKMDL00709282      MCK-AGMS-024-0002111         U.S. Pharma Regulatory Affairs Tracking    02/08/2019
MCKMDL065                                                                 Log for Customers Terminated or Denied
                                                                          Onboarding 2015-07/17/2018
MCKMDL00709283           MCKMDL00709442      MCK-AGMS-027-0002632 -       Educational Materials – Pharmacy           02/08/2019
MCKMDL065                                    MCK-AGMS-027-0002791         Customers
MCKMDL00709443           MCKMDL00709516      MCK-AGMS-027-0002792 -       CSMP Peer Review Monitoring Materials      02/08/2019
MCKMDL065                                    MCK-AGMS-027-0002865
MCKMDL00709517           MCKMDL00709705      MCK-AGMS-031-0000001 -       Materials re McKesson National             02/08/2019
MCKMDL065                                    MCK-AGMS-031-0000189         Controlled Substance Governance
                                                                          Committee
MCKMDL00709706           MCKMDL00710594      MCK-AGMS-062-0000524 -       McKesson Distribution Center Operations    02/08/2019
MCKMDL065                                    MCK-AGMS-062-0001412         Procedures
MCKMDL00710595           MCKMDL00710614      Not applicable               McKesson Manufacturer Marketing            02/08/2019
MCKMDL066                                                                 Product Promotional Agreement and
                                                                          related documents
MCKMDL00710615           MCKMDL00710903      Not applicable               Discovery requests to McKesson and         02/19/2019
MCKMDL067                                                                 McKesson discovery responses
MCKPUB00023976           MCKPUB00024487      Not applicable               Publicly-available documents identifying   02/19/2019
MCKMDL003                                                                 non-parties who engaged in misconduct
                                                                          involving opioids
MCKMDL00710904           MCKMDL00710945      Not applicable               DEA-related documents and                  02/26/2019
MCKMDL068                                                                 communications




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  APPENDIX C – McKESSON TRACK ONE DEPOSITIONS TAKEN BY PLAINTIFFS

Name                    30(b)(6)/Fact   Current/Last Known Title – Deposition Status
Ann Berkey              Fact            Former Director of Government Affairs

Micheal Bishop          Fact            Former Regulatory Affairs Manager

Gary Boggs              30(b)(6)        Senior Director, Regulatory Affairs, CSMP East Region

Gary Boggs              Fact            Senior Director, Regulatory Affairs, CSMP East Region

Kimberly Byers          Fact            Retail Sales Manager

Eugene Cavacini         Fact            SVP and COO, US Pharma Customer Operations

William de Gutierrez-   Fact            Director, Regulatory Affairs CSMP East Region
Mahoney
Joseph Ganley           30(b)(6)        VP Federal Government Affairs

David Graziano          Fact            Former Strategic Account Manager

David Gustin            Fact            Former Director, Regulatory Affairs, North Central Region

Gary Hilliard           Fact            Former Director, Regulatory Affairs

Nate Hartle             30(b)(6)        SVP, CSMP Regulatory Affairs & Compliance

Nate Hartle             Fact            SVP, CSMP Regulatory Affairs & Compliance

Tracy Jonas             Fact            Director of Operational Excellence

Nawang Kunga            Fact            Senior Analytics Manager, Regulatory Affairs & Compliance
                                        Interim Analytics Director, Regulatory Affairs & Compliance
Tom McDonald            Fact            Director, Regulatory Affairs CSMP West Region

Michael Oriente         Fact            Director, Regulatory Affairs, Retail National Accounts

Blaine Snider           Fact            Director of Operations (New Castle DC)

Scott Villarreal        30(b)(6)        Former SVP Internal Audit

Donald Walker           Fact            Former SVP of Distribution Operations & Regulatory Affairs




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                                 CERTIFICATE OF SERVICE

       I, Dale A. Rice, hereby certify that on March 4, 2018, MCKESSON CORPORATION’S

SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES TO PLAINTIFFS’

COMBINED DISCOVERY REQUESTS (NOS. 1-8) was served on counsel for plaintiffs and

defendants pursuant to the Order Concerning Service in the Track One Cases, dated September

17, 2018, and on additional counsel for plaintiffs, directed to the email addresses listed below.

       For Plaintiffs:   mdl2804discovery@motleyrice.com

       For Defendants: xALLDEFENDANTS-MDL2804-Service@arnoldporter.com

                       ADDITIONAL COUNSEL FOR PLAINTIFFS
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                                              By:     /s/ Dale A. Rice
                                                      Dale A. Rice
